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                         Exhibit 2
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                                                                                                                                   US010491748B1

       United States Patent                                                                      ( 10 ) Patent No.: US 10,491,748 B1
       Wu et al.                                                                                 (45 ) Date of Patent:   Nov. 26 , 2019
 (54 ) INTELLIGENT COMMUNICATION                                                                                   G06Q 10/06312 ; G06Q 10/06313 ; G06Q
        ROUTING SYSTEM AND METHOD                                                                                     30/0201 ; G06Q 30/0202 ; H04L 43/06 ;
                                                                                                                    HO4L 43/50 ; H04L 51/046 ; H04L 41/14
  (71) Applicants :Wai Wu, Massapequa , NY (US);                                                        USPC             379 /265.11 , 265.01, 265.02 , 265.09 ,
                   Steven M.Hoffberg , West Harrison ,                                                             379/ 265.03 , 265.06 , 265.13 , 265.05, 272 ,
                   NY (US)                                                                                                  379 / 10.01, 265.1, 265.12 , 265.14
                                                                                                        See application file for complete search history .
 ( 72 ) Inventors : Wai Wu, Massapequa , NY (US );                                         (56 )                                    References Cited
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                   NY (US)                                                                                                 U.S. PATENT DOCUMENTS
  ( * ) Notice :   Subject to any disclaimer , the term of this                                       2,906,027 A                    9/1959 Gundersen et al.
                   patent is extended or adjusted under 35                                            3,974,275 A                    8/1976 Bossert et al.
                 U.S.C. 154 (b ) by 51 days.                                                                                           (Continued )
  (21) Appl. No.: 15 /797,070                                                                                      FOREIGN PATENT DOCUMENTS
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 (60 ) Division ofapplication No. 14 / 968,114 , filed on Dec.                             US 5,415,368 A , 05/1995, Horstein et al. ( withdrawn )
        14 , 2015 , now Pat. No. 9,807,239, which is a                                     Primary Examiner Quynh H Nguyen
                         (Continued )                                                      Assistant Examiner - Kharye Pope
 (51) Int. Cl.                                                                             (74 ) Attorney, Agent, or Firm — Tully Rinckey PLLC ;
        H04M 3/00              ( 2006.01)
                                                                                           Steven M.Hoffberg ; Steven Hoffberg
        H04M 5/00              (2006.01 )                                                  (57)                    ABSTRACT
                         (Continued )                                                       A communi itions routing system , and method, for repre
 (52) U.S. Cl.                                                                             senting a plurality of predicted characteristics of a plurality
       CPC        H04M 3/5233 ( 2013.01); H04L 29/06027                                    of communications sources , each having an economic util
                                                ( 2013.01)                                 ity; representing a plurality of predicted characteristics of a
 (58 ) Field of Classification Search                                                      plurality of communications targets each having an eco
       CPC            H04M 3/5191; H04M 3/5232 ; H04M                                      nomic utility ; and determining an optimal routing between
                     3/5183 ; H04M 3/5175 ; H04M 3/5233 ;                                  the plurality of communications sources and the plurality of
                         H04M 3/5166 ; H04M 3/24 ; H04M                                    communications targets, by maximizing an aggregate utility
                     3/5235 ; H04M 3/5141 ; H04M 2201/42;                                  with respect to the respective predicted characteristics of
                          H04M 3/5133; H04M 3/28 ; H04M                                    communications source and communications destination
                   2203/402; H04M 3/523; H04M 2203/408 ;                                   represented by linkages.
                     H04M 2203/556 ; G06Q 10/067; GO6Q
                       10/04 ; G06Q 10/06 ; G06Q 10/0631 ;                                               20 Claims, 9 Drawing Sheets
                                                 call is placed to a call center
                                                               301

                                                        caller identified
                                                              302

                                                     caller record retrieved
                                                               303

                                                 call characteristics identified
                                                              304
                                                     retrieve agent profiles
                                                               305

                                                                is
                                                   call center near capacity ?       Yes        use skill-based routing
                                                              306                                          307

                                                               No

                                                  use training and skill based             optimize cost -utility function over
                                                          routing 311                               short term 308

                                                optimize cost-utility function for                    select agent
                                                 long term call center operation                           309
                                                               312
                                                          select agent                             route call to agent
                                                                                                           310
                                                              313

                                                route call to agentwith training
                                                     agent available 314
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   2014/0081793 A1     3/2014 Hoffberg                             2016/0036500 A1 2/2016 Kohli
   2014/0088871 A1     3/2014 Gueziec                              2016/0037431 A1 2/2016 Kohli
   2014/0091950 A1     4/2014 Gueziec                              2016/0054137 A1 2/2016 Wheatman et al.
   2014/0094159 A1     4/2014 Raleigh et al.                       2016/0054735 A1 2/2016 Switkes et al.
   2014/0098671 A1     4/2014 Raleigh et al.                       2016/0066788 A1 3/2016 Tran et al.
   2014/0107923 A1     4/2014 Gueziec                              2016/0087846 A1 3/2016 Prasad et al .
   2014/0113583 Al     4/2014 Raleigh                              2016/0112821 A1 4/2016 Raleigh
   2014/0121476 A1     5/2014 Tran et al.                          2016/0119001 Al 4/2016 Fonseka et al.
   2014/0129040 A1     5/2014 Emadi et al.                         2016/0127977 A1 5/2016 Kohli
   2014/0129779 Al     5/2014 Frachtenberg et al.                  2016/0155073 A1 6/2016 Augenstein et al.
   2014/0136107 A1    5/2014 Pfeifle                               2016/0156587 A1 6/2016 Day
   2014/0163850 A1    6/2014 Sawhill et al.                        2016/0171412 A1 6/2016 McHugh et al.
   2014/0173078 A1    6/2014 McCord et al.                         2016/0224951 A1 8/2016 Hoffberg
   2014/0188378 A1    7/2014 Sawhill et al.                        2016/0226563 A1 8/2016 Kohli
   2014/0195406 Al     7/2014 Borkovec et al .                     2016/0226569 A1 8/2016 Kohli
   2014/0198687 Al     7/2014 Raleigh                              2016/0231047 Al 8/2016 Kendall et al.
   2014/0211786 Al     7/2014 Yegoshin                             2016/0236790 A1  8/2016 Knapp et al.
   2014/0235230 A1     8/2014 Raleigh                              2016/0239851 A1  8/2016 Tanner, Jr. et al.
   2014/0241314 A1     8/2014 Raleigh et al.                       2016/0248631 A1 8/2016 Duchesneau
   2014/0248852 A1     9/2014 Raleigh et al.                       2016/0255199 Al  9/2016 McCord et al.
   2014/0258557 A1     9/2014 Day                                  2016/0266939 Al 9/2016 Shear et al.
   2014/0265808 A1     9/2014 Kendall et al.                       2016/0302047 Al 10/2016 Gueziec
   2014/0277599 Al     9/2014 Pande et al .                        2016/0321529 Al 11/2016 Rujan
   2014/0277872 A1     9/2014 MacNeille et al .                    2016/0323279 A1 11/2016 Raleigh
   2014/0278089 A1     9/2014 Gusikhin et al .                     2016/0330567 A1 11/2016 Raleigh
   2014/0278091 A1     9/2014 Horvitz et al.                       2016/0335893 Al 11/2016 Gueziec
   2014/0280952 A1     9/2014 Shear et al .                        2016/0359665 A1 12/2016 Raleigh
   2014/0282586 Al     9/2014 Shear et al.                         2016/0373588 Al 12/2016 Raleigh et al.
   2014/0286156 A1     9/2014 Kohli                                2016/0379168 A1 12/2016 Foerster et al.
   2014/0286251 A1     9/2014 Kohli                                2017/0004250 A1 1/2017 Robles
   2014/0288995 Al     9/2014 Huff et al .                         2017/0006135 A1  1/2017 Siebel et al.
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                                                            2017/0314945 A1 11/2017 Konig et al.
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                                                            2017/0332240 A1 11/2017 Raleigh
   2017/0015312 Al    1/2017 Latotzki                       2017/0337711 A1 11/2017 Ratner et al.
   2017/0031613 A1    2/2017 Lee et al.                     2017/0347026 A1 11/2017 Hannuksela
   2017/0031784 Al    2/2017 Lee et al.                     2017/0352202 Al 12/2017 Matos et al .
   2017/0039218 A1    2/2017 Prahlad et al.                 2017/0374013 A1 12/2017 Day
   2017/0055132 A9    2/2017 Gueziec                            2018/0011180 A1   1/2018 Warnick et al.
   2017/0060102 A1    3/2017 Sargolzaei et al.                  2018/0011766 Al   1/2018 Lee et al.
   2017/0078922 A1    3/2017 Raleigh et al.                     2018/0027473 Al   1/2018 Kalogridis et al.
   2017/0089635 A9    3/2017 Kendall et al.                 2018/0035391 Al       2/2018 Neves et al.
   2017/0109841 A1    4/2017 Sadikovic                      2018/0040250 A1       2/2018 Sawhill et al .
   2017/0111223 A1    4/2017 Matni et al.                   2018/0049043 Al       2/2018 Hoffberg
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   2017/0132853 A1    5/2017 Matos et al.                   2018/0068358 A1       3/2018 Hoffberg
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   2017/0201850 A1    7/2017 Raleigh et al.                 2018/0141363 Al       5/2018 Pandey
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   2017/0279971 A1    9/2017 Raleigh et al.                     2018/0253906 A1   9/2018 Tran et al.
   2017/0287212 A1   10/2017 Tran et al .                       2018/0260512 A1   9/2018 Robles
                                                                2018/0260892 Al   9/2018 Mueller et al .
   2017/0289323 A1   10/2017 Gelvin et al .                     2018/0261020 Al   9/2018 Petousis et al.
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             call is placed to a call center
                          301

                    caller identified
                           302

                 caller record retrieved
                           303

             call characteristics identified
                           304

                retrieve agent profiles
                           305

                            is
              call center near capacity ?         -Yes          use skill-based routing
                                                                         307
                          306
                           No

              use training and skill based               optimize cost-utility function over
                      routing 311                                   short term 308

            optimize cost-utility function for                       select agent
            long term call center operation                              309
                          312

                      select agent                                route call to agent
                                                                         310
                          313

            route call to agent with training
                 agent available 314



                                                 Fig. 1
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            outbound call is cued by an
             outbound call center 401

                   callee identified
                         402

              callee record retrieved
                        403

            call characteristics predicted
                         404

               retrieve agent profiles                          expected incremental
                         405                                        cost of agent
                                                                        415

            use training and skill based
                    routing 411                                 expected incremental
                                                                    utility of agent
                                                                        416
          optimize cost-utility function for
          long term call center operation
                         412
                                                                expected incremental
                                                                   cost of trainer
                    select agent                                        417
                         413

                                                                expected incremental
          route call to agent (with training                        training utility
          agent available if a training call)                           418
                         414




                                                Fig . 2
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          Agent        5   4    3
                                    10 25     8    9   2
                                                            77   2   6

                                                                           13.65
          Agent        4   5    3
                                    10 46     2    8   2
                                                            45   1
                                                                     3

                                                                           13.93
          Agent        3   3    3   9
                                         33   9    5   4
                                                            29   4   8

                                                                           1 .1
                                                                                   3
                                                                                   .
                                                                                   Fig

          Agent        2        3
                                    6
                                         50   2    8   3
                                                            80   5   3


                                                                           17.3
          Agent        1



                           20   3
                                    10   43   7    5   2
                                                            64   4   9


                                                                           18.51

                           1 Skill
                           Skill 2 Skill
                                   3 Skill
                                         4 Skill 6 Skill
                                           5 Skill       8 Skill
                                                   7 Skill 9 10  Skil      Score

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Case 1:23-cv-04377-RMB-EAP Document 1-6 Filed 08/11/23 Page 19 of 49 PageID: 90


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         Agent        5
                          0.6 5.5       4
                                        .    3
                                                 10 25           9   2
                                                                          77   2
                                                                                   6

                                                                                       13.65 13.69

         Agent        4
                          0.7   2       5    3
                                                 10 46     2     8   2
                                                                          45   1
                                                                                   3

                                                                                       13.93 1 .75
                          0.45 6.8                    33                  29           1 .1 1 .80
         Agent
                      3                 3    3   9         9     5   4         4   8




                                                                                                                4
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                                                                                                                Fig



         Agent
                      2

                          0.5   3       5    3   6
                                                      50   2     8   3
                                                                          80   5   3


                                                                                       17.3 12.53

         Agent 0.4    1
                                6
                                        20   3
                                                 10   43   7    5    2
                                                                          64   4   9


                                                                                       18.51 13.40

                          Ac1 Ac2       Skill
                                        1 Skill
                                              2 Skill
                                                3 Skill        6 Skill
                                                      4 Skill5 Skill 7 Skill
                                                                       8 Skill
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                 Agent GA                 0.6 5.5         4     3
                                                                     10 25      8    9    2
                                                                                                77      2   6

                                                                                                                                             13.65 13.69

                 Agent           4
                                          0.7   2         5     3
                                                                     10 46      2    8     2
                                                                                                45      1
                                                                                                            3


                                                                                                                                             13.93 1 .75

                 Agent 0.45 6.8  3                        3     3    9
                                                                          33    9    5    4
                                                                                                29      4   8
                                                                                                                                             1 .1 1 .80
                                                                                                                                                                  5
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                                                                                                                                                                  Fig

                 Agent 0.5       2              3         5     3    6
                                                                          50    2    8     3
                                                                                                80      5   3

                                                                                                                                             17.3 12.53
                 Agent 0.4       1              6
                                                          20    3
                                                                     10 43      7    5    2
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Case 1:23-cv-04377-RMB-EAP Document 1-6 Filed 08/11/23 Page 21 of 49 PageID: 92


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                              Agent   5   4    3
                                                   10 25     8   9   2
                                                                         77   2   6

                                                                                       13.65 10.12 12.71 8.98 1 .09
                              Agent   4   5    3
                                                   10 46     2   8   2
                                                                         45   1
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                                                                                       13.93 10.7 10.54 7.89 9.03
                              Agent   3   3    3   9
                                                        33   9   5   4
                                                                         29   4   8
                                                                                       1 .1 8.72 8.97 7.6 8.24

                              Agent   2   5    3   6
                                                        50   2   8   3
                                                                         80   5   3


                                                                                       17.3 12.39 13. 1 9.91 12.83
                              Agent   1


                                          20   3
                                                   10 43     7   5   2
                                                                         64   4   9

                                                                                       18.51 15.4 15.25 12.74 13.69   6
                                                                                                                      .
                                                                                                                      Fig


                                                                                       1 Rule
                                                                                       Rule 2 Rule
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              Rule   Vector   5           14
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                                                 58.18
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                                                 56.759.96                                     55867.52169 562.1680.6325
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                                                 5690.2165 65076.3748
                                                 59.01                                         587.19546.87 56801.5307941
                                                 56708.,8491623
                                                                5670.95173 60.9                                                     5607.185967
                                                                           59.71
                    Cofacvonmgbilesaynto.risal                   5 .41 58.9
                                                                                                                                    57.482
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                                                                                                                                                         Fig

                                                  57.72
                                                                 569.7351                                          6520789.417593
                                                                           60.162.04
                                                               598.9135
                                                                           59.3                                                     56|8071.,80745329
                                                                                               56487920.35970246
                                                                57.82 61.3
                                                                                                                   5690.8469
                                                 65089.28076549 59.71 61.96
                                                                60.6                                               62.42 59.6
                                                                58.8 65091.02658                                   60.14 57.32
                                                                58.5                                               59.81 58.07
                                                                57.8 60.13                                         58.6 59.74
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                        Agent              5

                                                              0.79             1.2    4    3
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                                                                                                                       77   2   6


                                                                                                                                    36.85 31.87 31.4572 32.328 9 .81
                        Agent              4

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                                                                                               10 46     2   8    2
                                                                                                                       45   1
                                                                                                                                3




                                                                                                                                    31.7861 28.6105 21.9 65 23.9540 68.537
                        Agent               3
                                                              1                1
                                                                                      3    3   9
                                                                                                    33   9   5    4
                                                                                                                       29   4
                                                                                                                            .
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                        Agent               2

                                                              0.68             1.3    5    3   6
                                                                                                    50   2   8    3
                                                                                                                       80   5   3
                                                                                                                                    1589.06479 418.05168 41.359782 147.893264 4185.60173
                        Agent              1




                                                              0.59            1.3 20       3
                                                                                               10   43   7   5    2
                                                                                                                       64   4
                                                                                                                            .
                                                                                                                                9



                                                                                                                                    72.189 70.07 54.1875 6 .248 17 .97
                                                                                                                                                                                           Fig
                                                                                                                                                                                           8
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                                                         AgentCost Agenttime factor                                                           2 Rule
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Case 1:23-cv-04377-RMB-EAP Document 1-6 Filed 08/11/23 Page 24 of 49 PageID: 95


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                                                                                                                        30.9 53



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                                                                                                                                3201894765.2380915746
                                                                                                                                                         9
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                                                                                                                                                         Fig
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                                                        US 10,491,748 B1
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            INTELLIGENT COMMUNICATION                               made by Dialogic , Inc. ( Intel Corp.). The voice communi
            ROUTING SYSTEM AND METHOD                               cation peripherals execute the low level processing and
                                                                    switching of the voice channels , under control from the
                   RELATED APPLICATIONS                             general purpose processor. Therefore, the voice - information
                                                                  5 is generally not communicated on the computer bus. This
       The present application is a Continuation of U.S. patent architecture typically allows the computing platform to run
  application Ser. No. 14 /968,114 , filed Dec. 14 , 2015 , now a modern , non -deterministic operating system , such as Win
  U.S. Pat. No. 9,807,239, issued Oct. 31 , 2017 , which is a dows 2000, without impairing the real-time performance of
  Continuation of U.S. patent application Ser. No. 13,661,293 , the system as a whole, since the communications control
   filed Oct. 26 , 2012, now U.S. Pat. No. 9,215,322 , issued 10 functions are not as time critical as the voice processing
  Dec. 15 , 2015, which is a Continuation of U.S. patent functions . However, as is well known, non - deterministic
  application Ser. No. 11/695,691 , filed Apr. 3 , 2007 , now U.S. operating systems, such as Windows 2000 , are subject to
  Pat. No. 8,300,798 , issued Oct. 30 , 012 , which is a non significant latencies, especially when multiple tasks are
  provisional of U.S. Provisional Patent Application 60/744 , executing , and when contention exists between resources ,
   190, filed Apr. 3, 2006 , the entirety of which are expressly 15 inespecially hard disk access and virtual memory. Therefore,
                                                                         order to assure that system operation is unimpeded by
   incorporated herein by reference .
                                                                    inconsistent demands on the platform , typically the host
                  FIELD OF THE INVENTION                            computer system for the telephony peripherals is 'dedi
                                                                    cated ', and attempts are made to eliminate extraneous soft
      The present invention relates generally to computer inte- 20 ware tasks. On the other hand , externalizing essential func
   grated telecommunications systems and more particularly to tions imposes potential latencies due to communications and
  a system and method employing an intelligent switching external processing.
  architecture .                                                            The Call Center
                                                                            A ‘ call center' is an organization of people , telecommu
                      BACKGROUND ART                                    25 nications equipment and management software , with a mis
                                                                           sion of efficiently handling electronic customer contact. A
      The description of the invention herein is intended to typical call center must balance competing goals . Customers
  provide information for one skilled in the art to understand should experience high quality and consistent service as
  and practice the full scope of the invention , but is not measured , for example , by how long the customer's call
  intended to be limiting as to the scope of available knowl- 30 must wait in queue before being answered and receiving
  edge, nor admit that any particular reference , nor the com              satisfactory service. At the same time, this service should be
  binations and analysis of this information as presented provided to make efficient use of call center resources.
  herein , is itself a part of the prior art. It is, in fact, a part of       Strategies for Call Center Management
  the present invention to aggregate the below cited informa                  ‘ Workforce management' systems provide important tools
  tion as a part of the disclosure , without limiting the scope 35 for meeting the goals of the call center. These systems
  thereof. All of the below - identified references are therefore generate forecasts of call volumes and call handling times
  expressly incorporated herein by reference , as if the entirety based on historical data , to predict how much staff will be
  thereofwas recited completely herein . It is particularly noted needed at different times of the day and week . The systems
  that the present invention is not limited by a narrow or then create schedules that match the staffing to anticipated
  precise discussion herein , nor is it intended that any dis- 40 needs. Typically, an Automatic Call Distribution (ACD )
   claimer , limitation , or mandatory language as applied to any function is provided in conjunction with a computerized
  embodiment or embodiments be considered to limit the Private Branch Exchange (PBX ). This ACD function
  scope of the invention as a whole. The scope of the invention enables a group of agents , termed ACD agents , to handle a
  is therefore to be construed as the entire literal scope of the high volume of inbound calls and simultaneously allows a
  claims, as well as any equivalents thereof as provided by 45 queued caller to listen to recordings when waiting for an
  law . It is also understood that the title, abstract, field of the available ACD agent. The ACD function typically informs
  invention, and dependent claims are not intended to , and do inbound callers of their status while they wait and the ACD
  not, limit the scope of the independent claims.                           function routes callers to an appropriate ACD agent on a
     Real - time communications are typically handled by dedi first-come- first-served basis . Today , all full -featured PBXs
  cated systemswhich assure that themanagement and control 50 provide the ACD function and there are even vendors who
  operations are handled in a manner to keep up with the provide switches specifically designed to support the ACD
  communications process, and to avoid imposing inordinate function . The ACD function has been expanded to provide
  delays . In order to provide cost-effective performance , com            statistical reporting tools , in addition to the call queuing and
  plex processes incidental to the management or control of call routing functions mentioned above, which statistical
  the communication are typically externalized . Thus, the 55 reporting tools are used to manage the call center. For
  communications process is generally unburdened from tasks example , ACD historical reports enable a manager to iden
  requiring a high degree of intelligence, for example the tify times: (a ) when inbound callers abandon calls after long
  evaluation of complex algorithms and real time optimiza waits in a queue because, for example , the call center is
  tions. One possible exception is least cost routing (LCR ), staffed by too few ACD agents and (b ) when many ACD
  which seeks to employ a communications channelwhich is 60 agents are idle . In addition ,ACD forecasting reports , based
  anticipated to have a lowest cost per unit . In fact, LCR on the historical reports, allow the manager to determine
  schemes , when implemented in conjunction with a commu appropriate staffing levels for specific weeks and months in
  nications switch , either employ simple predetermined rules ,          the future.
  or externalize the analysis .                                            Queue Management
    Modern computer telephone integrated systems typically 65 ACD systems experience high traffic periods and low
  employ a general purpose computer with dedicated voice     traffic periods. Consequently, ACD systems mustbe capable
  communication hardware peripherals, for example boards                 of automating two major decisions . The first major decision
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  may be referred to as the “agent selection decision ,' i.e., outbound calling, or a combination of each . The skill -based
  when more than one agent is available to handle the next routing algorithms may also be used to anticipate call center
  transaction , which agent should be chosen ? The second needs, and therefore be used to optimally schedule agents for
  major decision may be referred to as the transaction selec greatest efficiency, lowest cost, or other optimized variable .
  tion decision ,' i.e., when more than one transaction is 5 In the case of multi-skill criteria , the optimality of selec
  waiting for the next available agent and an agent becomes tion may be based on a global minimization of the cost
  available, which transaction should the agent handle ? One        function or the like .
  approach to the agent selection decision is to set up a              The longest- idle-agent approach and the FIFO approach
  sequencing scheme, so that the switch of the ACD system           function well in applications having little variation in the
   follows the same sequence of agents until the first available 10 types of transactions being handled by the ACD agents . If all
  agent in the sequence is found. The concern with this agents can handle any transaction , these approaches provide
  approach is that it creates “ hot seats ,' i.e. an inequitable a sufficiently high level of transactional throughput, i.e., the
  distribution of inbound calls to ACD agents who are high in number of transactions handled by the call center in a
  the sequence. Most current ACD systems solve the agent particular time interval. However , in many call center envi
  selection decision by using a longest- idle -eligible-agent 15 ronments , the agents are not equally adept at performing all
  approach to provide a more equitable distribution of trans types of transactions. For example, some transactions of a
  actions.                                                          particular call center may require knowledge of a language
      There are also different approaches to the transaction other than the native language of the country in which the
  selection decision in which there are more available trans        call center is located . As another example , some transactions
  actions than there are ACD agents. One approach is to create 20 may require the expertise of 'specialists' having training in
  one or more first-in , first-out (FIFO ) queues . Under this the specific field to which the transaction relates, since
  approach , each transaction may be marked with a priority training all agents to be knowledgeable in all areas would be
  level by the switch of the ACD system . When an agent cost-prohibitive. For ACD applications in which agents are
  becomes available, the transaction with the highest priority not equally adept at performing all transactions, there are a
  is routed to the agent. If several calls of equal priority are 25 number of problems which at least potentially reduce trans
  waiting in a queue, the call which has been waiting the actional throughput of the call center. Three such problems
  longest is routed to the available agent. If the call center may be referred to as the ‘under -skilled agent' problem , the
  conducts outbound transactions, each transaction is similarly ' over-skilled agent ' problem , and the 'static grouping ' prob
  submitted to a FIFO queue with a priority designation , with lem .
  the switch routing transactions from the queue to the agents . 30 The under- skilled agent problem reduces transactional
     Queue / Team Management                                          throughput when the switch routes transactions to ACD
     Calls that arrive at a call center generally are classified agents who do not have sufficient skills to handle the
  into “ call types ' based on the dialed number and possibly transactions . For example , a call may be routed to an
  other information such as calling number or caller responses English -only speaking person , even though the caller only
  to prompts from the network . The call center is typically 35 speaks Spanish . In another example , the transaction may
  served by an automatic call distributor (ACD ), which iden          relate to product support of a particular item for which the
  tifies the call type of each incoming call and either delivers agent is not trained . When this occurs , the agent will
  or queues it. Each call type may have a separate first-in           typically apologize to the customer and transfer the call to
  first-out queue in the ACD . In most existing call centers, the another agent who is capable of helping the customer.
  agents answering calls are organized into one or more 40 Consequently , neither the agent's nor the customer's time is
  “teams,'with each team having primary responsibility of the efficiently utilized .
  calls in one or more queues. This paradigm is sometimes                Inefficient utilization is also a concern related to the
  referred to as “ queue/ team .' In the queue/ team model, sched over-skilled agent problem . A call center may have fixed
  uling for each team can be done independently . Suppose, for groupings of agents , with each group having highly trained
  example , that the call center handles calls for sales, service, 45 individuals and less -experienced individuals. Call-manage
  and billing , and that each of these call types is served by a ment may also designate certain agents as “specialists,' since
  separate team . The schedule for sales agents will depend on it would be cost prohibitive to train all agents to be experts
  the forecast for sales call volume and on various constraints in all transactions. Ideally, the highly skilled agents handle
  and preferences applicable to the agents being scheduled , only those transactions that require a greater - than -average
  but this schedule is not affected by the call volume forecast 50 skill level. However, if a significant time passes without
   for service or billing . Further, within the sales team , agents transactions that require highly skilled agents, the agents
  are typically considered interchangeable from a call han           may be assigned to calls for which they are over- qualified .
  dling viewpoint. Thus, within a team , schedule start times, This places the system in a position in which there is no
  break times and the like,may be traded freely among agents qualified agent for an incoming call requiring a particular
  in the team to satisfy agent preferences without affecting 55 expertise because the agents having the expertise are han
  scheduled call coverage. See, U.S. Pat. No. 5,325,292 , dling calls that do not require such expertise. Again , the
  expressly incorporated herein by reference. In a queue/team        transactional throughput of the call center is reduced .
  environment, when a new call arrived , the ACD determines             Current ACD systems allow agents to be grouped accord
  the call type and places it in the queue, if all agents are busy , ing to training . For example , a product support call center
  or allocates this call to the team member who had been 60 may be divided into four fixed , i.e., “static ,' groups, with
  available the longest.                                             each group being trained in a different category of products
      Skill -Based Routing                                           sold by the company . There are a number of potentially
      Skill- based routing of agents is a well known principle, in negative effects of static grouping. Firstly , the call center
  which the agent with the best match of skills to the problem management must devise some configuration of agents into
  presented is selected for handling the matter. Typically, these 65 groups. This may be a costly process requiring extensive
  matters involve handling of telephone calls in a call center, analysis and data entry . Secondly, the configuration that is
  and the technology may be applied to both inbound and             devised is not likely to be optimal in all situations. The pace
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  and mix of transactions will change during a typical day. At available for calls of that type , ormight be available part of
  different times, the adverse effects of the under- skilled agent the time and handling other call types for another part of
  problem and the adverse effects of the over- skilled agent time.
  problem will vary with respect to the transactional through            All agents having a particular combination of skills may
  put of the call center. Thirdly , when a new product is 5 be deemed a ' skill group.’A central problem of skills -based
  released , the devised configuration likely will be less valu       scheduling is then finding a way to predictwhat fraction of
  able. In response to changes in the size , pace and mix of the scheduled agents from each skill group will be available to
  transaction load over the course of time, call management each call type during each time intervalbeing scheduled . If
  must monitor and adjust the performance of the current these fractions are known, then the effect of different agent
   grouping configuration on an ongoing basis . When trends 10 schedules can be generated . Unfortunately, it is difficult or
  are detected , the grouping configuration should be changed . impossible to calculate the skill group availability fractions
   This requires the time and attention of call center managers directly . These functions depend on the relative and absolute
  and supervisors . Again , the transactional throughput is call volumes in each call type , on the particulars of the
  reduced .                                                           skills -based call distribution algorithms in the ACD , and on
     It is thus known in the prior art to provide ACD systems 15 the skills profiles of the total scheduled agent population .
   that depart from the queue/ team model described above . Particularly as ACD skills -based routing algorithms them
  Calls are still categorized into call types. In place of queues selves evolve and become more sophisticated , the factors
  for the call types, however, queues associated with skills ' affecting skill group availability become too complex for
  are provided . The ACD's call distribution logic for the call direct analysis . One proposed solution provides a feedback
  type determines which queue or queues a call will occupy at 20 mechanism involving call handling simulation and incre
  various times before it is answered . Agents are not organized mental scheduling , to schedule agents in a skills -based
  into teams with exclusive responsibility for specific queues. routing environment. See , U.S. Pat. No. 6,044,355 ,
  Instead , each agent has one or more identified ‘skills ' expressly incorporated herein in its entirety.
  corresponding to the skills -based queues. Thus, both a given          In accordance with this ‘skills-based scheduling ' method ,
  call and a given agentmay be connected to multiple queues 25 a computer implemented tool is used to determine an
  at the same time. Agent skills designations may be further optimum schedule for a plurality of scheduled agents in a
   qualified , for example, as ‘primary ' or 'secondary ' skills , or telephone call center, each of the plurality of scheduled
  with some other designation of skill priority or degree of agents having a combination of defined skills . The plurality
  skill attainment. The ACD call distribution logic may take of scheduled agents are organized into “ skill groups ' with
  the skill priority levels into account in its call distribution 30 each group including all scheduled agents having a particu
  logic .                                                            lar combination of skills . The method begins by generating
      In a skills -based routing environment, the ‘matching ' of a plurality of net staffing arrays, each net staff array asso
  calls agents by the ACD becomes more sophisticated and ciated with a given call type and defining, for each time
  thus complicated . Agents who have more than one skill no interval to be scheduled , an estimate of a difference between
  longer belong to a well-defined team that handles a 35 a given staffing level and a staffing level needed to meet a
  restricted set of calls . Instead , the skills definitions form     current call handling requirement. In addition to the net
  ‘implicit ' teams that overlap in complex ways. If, for staffing arrays, the method uses a plurality of skills group
  example , a call center has 10 skills defined , then agents availability arrays, each skills group availability array asso
  could in principle have any of 1024 possible combinations ciated with the given call type and defining, for each
  (219 ) of those skills. Each skill combination could be eligible 40 combination of skill group and time interval to be scheduled ,
  to handle a different subset of the incoming calls, and the an estimate of a percentage of scheduled agents from each
  eligible subset might vary with time of day , number of calls skill group that are available to handle a call. According to
   in queue , or other factors used by the ACD in its call routing the method , the plurality of arrays are used to generate a
  decisions. Today, call center managers want to connect a proposed schedule for each of the plurality of scheduled
  caller to an ACD agent having exactly the right skills to 45 agents . Thereafter, a call handling simulation is then run
  serve the caller. However, skills based ' ACD agent groups against the proposed schedule using a plurality of ACD call
  are often small and , as a result, whenever an inbound call distribution algorithms (one for each call type being sched
  arrives, all such “skills based ' ACD agents may be busy. In uled ). Based on the results of the call handling simulation ,
  such instances, the ACD function can take call back instruc         the net staffing arrays and the skills availability arrays are
  tions from the caller and the ACD function can manage the 50 refined to more accurately define the net staffing and skills
  call back functions, for example , by assigning such calls , in usage requirements. The process of generating a schedule
  accordance with the caller instructions, to a ' skills based ' and then testing that schedule through the simulator is then
  ACD agent whenever one becomes available .                          repeated until a given event occurs . The given event may be
      Scheduling of agents in a skills -based environment is thus a determination that the schedule meets some given accep
  a much more difficult problem than it is in a queue /team 55 tance criteria , a passage of a predetermined period of time,
   environment. In a skills- based environment, call types can        a predetermined numberof iterations of the process, or some
  not be considered in isolation . Thus, for example, a heavy combination thereof. A proposed schedule is ‘ optimized
  volume of Service calls might place higher demands on when it provides an acceptable call handling performance
  multi -skilled agents , causing an unforeseen shortage of level and an acceptable staffing level in the simulation . Once
   coverage for Billing calls. Further, agents with different 60 the proposed schedule is ‘optimized,' it may be further
   skills cannot be considered interchangeable for call han adjusted (within a particular skill group ) to accommodate
  dling. Thus, trading lunch times between a Sales -only agent agent preferences .
  and a multi -skill agent might lead to over-staffing Sales at          U.S. Pat. No. 5,206,903 to Kohler et al. describes ACD
  noon while under- staffing Service at 1:00 p.m. This would equipment which uses static grouping. Each static group of
  lead to undesirable results. Moreover, with respect to the 65 agents is referred to as a 'split ,' and each split is associated
  needs of a particular call type, a multi -skilled agentmight with a different queue. The agents are assigned to splits
  provide no help over a given span of time, might be 100 % according to skills . Within a single split, the agents may be
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  limited to knowledge of different subtypes of transactions.         ventional PBX and further functions as an ACD to distribute
  Preferably , there is at least one agent in each split who is incoming calls to local agents connected to the PBX .
  trained to handle calls of any of the subtypes within the Another type of ACD consists of the utilization of an
  particular split . This ‘ expert may also be trained to effi      electronic telecommunication switch such as a 5ESS®
  ciently handle calls of other types, i.e., other splits. Each 5 switch available from AT & T which is capable of providing
  agent possesses up to four skill numbers that represent ACD service when supposed by ACTs coupled to the switch .
  various abilities of the agent with respect to handling Both types of ACD typically function as independent sys
  transactions related to subtypes and types of transactions . tems which handle incoming calls and make internal deci
   The ACD equipment assigns each incoming call three pri sions concerning which agent will receive a given call. Both
  oritized skill numbers that estimate skill requirements of the 10 types of ACD systems are capable of generating statistical
  incoming call. The skill numbers of the incoming call are reports which can be monitored by a workstation coupled to
  considered ' prioritized ,' since they are viewed sequentially the ACD system to allow a supervisor to monitor call
  in searching for amatch of the call with an agent, so that the handling statistics . Such data typically represents an average
  second skill number of the call is unnecessary if a match is of statistics for a given system .
  found using the first prioritized skill number. The incoming 15 Telephone call centers that handle calls to toll - free ‘ 800 '
  call is assigned the one , two or three prioritized skill numbers are well -known in the art . Typically , a company
  numbers and is placed in the appropriate queue of the may have many call centers, all answering calls made to the
  appropriate static group of agents. A search is made among same set of 800 numbers. Each of the company's call centers
  the available agents for an agent-skill number that matches usually has an automatic call distributor (ACD ) or similar
  the first skill number of the call. If no match is found after 20 equipment capable of queuing calls . ACD management
  a predetermined time delay, the second prioritized skill information systems keep statistics on agent and call status,
  number of the call is used to find a match . If no match is       and can report these statistics on frequent intervals. Such
  found after a second predetermined time delay, the third capabilities are in use today for centralized reporting and
  prioritized skill number is considered. Then, if no match is display ofmulti- location call center status. In such systems,
  still found, the ACD equipment of Kohler et al. expands the 25 the company will want to distribute the calls to its call
  search of available agents to other groups of agents .            centers in a way that will optimally meet its business goals .
     While the Kohler et al. patent does notdirectly address the Those goals might include low cost of call handling, answer
  problems associated with static groups , it does consider the ing most calls within a given amount of time, providing
  skills of the individual agents . The prioritized skill numbers customized handling for certain calls , and many others . It is
  assigned to the incoming calls are logically ordered . The 30 also known in the prior art that certain call routing criteria
  patent refers to the first skill number of a call as the primary and techniques support a broad range of business goals.
  call-skill indicator. This primary indicator is used to define These include ' load balancing ,' 'caller segmentation ' and
  the minimal skill level that is required for an agent to ‘ geographic routing .' Load balancing refers to distribution
  competently handle the call . Consequently, if a match is of calls so that the expected answer delay for new calls is
  made with the primary indicator, the ACD agent may not be 35 similar across all the call centers. If other considerations do
  over -skilled or under- skilled . However, if the search is not dictate otherwise, load balancing is desirable because it
  unsuccessful, the secondary call -skill indicator is utilized . provides optimum efficiency in the use of agents and facili
   The search for a match to the secondary indicator may cause ties, and it provides the most consistent grade of service to
  the call to be routed to an agent having more than the callers. In special situations it might be desirable to unbal
  minimal required skill. The third prioritized skill number 40 ance the load in a particular way, but control over the
  that is assigned to the incoming call is referred to as the         distribution of call load is still desired .
  “ tertiary ' call- skill indicator. The tertiary indicator is yet      If the caller's identity can be inferred from the calling
  another skill level beyond what is minimally required to number, caller -entered digits, or other information , that
  competently handle a call. Since the tertiary indicator is identity may influence the choice of destination for the call.
  utilized only if a match is not found for either of the primary 45 Call routing based on such information is referred to as
  or secondary indicators , an overly skilled agent of the caller segmentation . Also , it has been found desirable for
  appropriate group will handle the call only if that agent is the particular call centers to handle calls from particular geo
  only available capable agent. Thus, more highly skilled graphic areas. The motivation may be to minimize call
  agents are assigned only when their skills are required , or no transport costs , to support pre -defined call center 'territo
  lesser -skilled agent is available to handle the call.          50 ries ’, or to take advantage of agents specifically trained to
     See , U.S. Pat. Nos. 6,529,870 ; 6,522,726 ; 6,519,459; handle calls from given locations. Such techniques are
  6,519,259; 6,510,221 ; 6,496,568; 6,493,696 ; 6,493,432 ; known as geographic routing.
  6,487,533 ; 6,477,494 ; 6,477,245 ; 6,470,077; 6,466,909;          The interexchange carriers who provide 800 service today
  6,466,654 ; 6,463,299 ; 6,459,784 ; 6,453,038 ; and U.S. Pub    generally support some form of routing plan to help
   lished Patent Application No. 2003/0002646 .
     Group Routing
                                                               55 achieve load balancing, caller segmentation and geographic
                                                                  routing . Typically these routing plans allow 800 call routing
     Various types of conventional automatic distributors based on time of day, day of week , the caller's area code ,
  (ACDs) are available to distribute incoming calls to a group . caller-entered digits , and fixed percentage allocations. Pre
  Reservation and information services may be provided by dominately, however, the routing plans supported by the
  large companies , such asmajor airlines, and may consist of 60 carriers are static in the sense that they do not automatically
  geographically separated groups of agents that answer react to unexpected variations in incoming call volume or
  incoming calls distributed to the agents by separate ACDs. distribution , nor to actual call delays being experienced at
  Agent communication terminals (ACTS ) which are con            each destination . Reaction to changing conditions is done
  nected to an ACD are utilized by the agents to process via manual modification of the plan , on a time scale of
   incoming calls routed to a particular ACT by the ACD . 65 minutes or hours. Recent service offerings from some inter
     A public branch exchange (PBX ) type ACD such as a exchange carriers offer some degree of automatic reaction to
  Definity® ACD available from AT & T functions as a con         changing conditions. One such offering , called “alternate
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  termination sequence ' or ‘ATS ' (from AT & T ), allows cus system places outbound calls expecting the agent to be
  tomers to establish maximum numbers of calls to be queued available , but the agent instead places their own call to
  for each destination , with a pre- defined alternative when a another agent or a supervisor, or has an incoming call
  primary destination is overloaded . Another offering , referred connected to them , the outbound system may not have an
  to as “ intelligent routing control or ‘IRC ' ( from MCI), 5 agent available to handle an answered outbound call . Addi
  allows an ACD to refuse a call from the network , again tionally, if an agent is assigned to handle incoming calls , but
  resulting in pre -defined alternative call handling . A third instead places a call to another agent or listens to voicemail
  kind of service , AT& T's Intelligent Call Processing , lets the messages, the number of queued incoming calls may
  interexchange network pass call -by -call data to a computer. increase , thereby increasing the waiting time experienced by
     In a conventional ACD , phone calls are processed on a 10 the callers . “ ITU - T Recommendation Q.1219, Intelligent
  first- in , first-out basis: the longest call waiting is answered Network User's Guide for Capability Set 1', dated April,
  by the next available agent. Answering calls across multiple 1994 , expressly incorporated herein by reference , provides
  automated call distributors (ACD ) is typically done on a considerable information on intelligent networks. One
   first - in , first-out basis dependent upon time of receipt of the known system proposes a call-management method and
  call by each ACD , whether the call is directly connected or 15 system for distributing calls to a plurality of individuals ,
  forwarded . Another call distribution scheme is provided in such as automatic call distribution ( ACD ) agents, which
  Gechter et al., U.S. Pat . No. 5,036,535 . This patent discloses routes calls to the individuals based upon a correlation of
  a system for automatically distributing telephone calls attributes of the individuals with calls that are tagged with
  placed over a network to one of a plurality of agent stations identification of abilities that are advantageous to efficiently
  connected to the network via service interfaces, and provid- 20 processing the calls . That is , for each call that is to be
  ing statusmessages to the network . Gechter et al.'s disclosed distributed , one or more skills that are relevant to efficient
  system includes means for receiving the agent status mes handling of the call are determined and then used to route the
  sages and call arrival messages from the network , which call to an appropriate individual. In addition , call manage
  means are connected via a network service interface to the ment preferences may also be accommodated .
  network . Routing means responsive to the receiving means 25 Personalization and Collaborative Filtering
   is provided for generating a routing signal provided to the          Known systems allow personalization or prediction of
  network to connect the incoming call to an agent station user type , preferences or desires based on historical data or
   through the network . In the system disclosed in Gechter et limited information available. These known systems have
  al, when an incoming call is made to the call router, it been applied to a number of different domains. In a non
  decides which agent station should receive the call, estab- 30 collaborative personalization system , the available informa
   lishes a call with that agent station , and then transfers the tion about a person is analyzed , and based on this informa
  original call onto the second call to connect the incoming tion , conclusions are drawn. In a collaborative system , the
  caller directly to the agent station and then drops out of the available information is used to associate the person with a
  connection . U.S. Pat. No. 5,193,110 issued to Jones et al group of other users having common attributes .By grouping
  discloses an integrated services platform for a telephone 35 users , the data sets are more dense, permitting more detailed
  communications system which platform includes a plurality inferences to be drawn. The groups are defined by mapping
  of application processing ports for providing different types user attributes in a multidimensional space , and then defin
  of information services to callers . In Jones et al's disclosed ing clusters of users having correlated traits . Further, the use
  system , a master control unit and a high speed digital switch of data relating to past transactions of other users allows
  are used to control processing of incoming phone calls by 40 prediction of outcomes and sequences of actions, without
  recognizing the type of service requested by the caller and having a true past example of the activity from that particu
  then routing the call to the appropriate processing port. The lar user.
  Jones et al system is disclosed as an adjunct to current         The following references are expressly incorporated
  switching technology in public and private networks.          herein by reference : U.S. Pat. Nos. 6,418,424 ; 6,400,996 ;
     Intelligent Call Management                              45 6,081,750; 5,920,477 ; 5,903,454; 5,901,246 ; 5,875,108;
    Call centers are also used to make outbound calls, for       5,867,386 ; 5,774,357 ; 6,529,891 ; 6,466,970 ; 6,449,367 ;
  example for telemarketing. Agents making outbound calls ,      6,446,035 ; 6,430,558; 6,412,012; 6,389,372; 6,356,899;
  referred to as outbound agents, are typically separate from    6,334,131; 6,334,127 ; 6,327,590 ; 6,321,221 ; 6,321,179;
  ACD agents handling inbound calls and call center software 6,317,722; 6,317,718 ; 6,266,649 ; 6,256,648 ; 6,253,193 ;
  separately manages outbound call lists for outbound agents 50 6,236,980 ; 6,236,978 ; 6,185,683 ; 6,177,932 ; 6,170,742;
  to ensure that each outbound agent wastes little time in 6,146,026 ; 6,138,119 ; 6,112,186 ; 6,112,181; 6,078,928;
  dialing or in performing overhead operations. A call center 6,016,475 ; 5,999,908 ; 5,560,011 ; 6,484,123; 6,480,844 ;
  typically has multiple agents for answering incoming calls 6,477,246 ; 6,421,709 ; 6,405,922 ; 6,353,813 ; 6,345,264;
  and placing outgoing calls . A call center may also have 6,314,420 ; 6,308,175 ; 6,144,964 ; 6,029,161; 6,018,738;
  agents participating in outgoing call campaigns, typically in 55 6,016,475 ; 6,006,218 ; 5,983,214 ; 5,867,799; and 5,790,935 .
  conjunction with an outbound call management system . See also references cited in U.S. patent application Ser . No.
  Each agent may be assigned to a particular group , such as an 10 /385,389 . See , U.S. Pat. Nos. 4,048,452 ; 4,737,983 ,
  inbound group or an outbound group . Agents can also be 4,757,529 ; 4,893,301 ; 4,953,204; 5,073,890 ; 5,278,898 ;
  assigned to a supervisor team , which represents multiple 5,309,513 ; 5,369,695 ; 5,506,898 ; 5,511,117 ; 5,519,773 ;
  agents that report to the same supervisor.                      60 5,524,147; 5,590,188; 5,633,922 ; 5,633,924 ; 5,715,307 ;
     In certain situations, it is necessary to restrict an agent's 5,740,240 ; 5,768,360 ; 5,825,869; 5,848,143 ; 5,870,464 ;
  activity to answering calls or handling a particular type of 5,878,130 ; 5,901,214 ; 5,905,792 ; 5,907,608 ; 5,910,982;
  call ( e.g., answering only incoming calls). For example , 5,915,011; 5,917,903 ; 5,923,745 ; 5,926,539 ; 5,933,492;
  during an outbound campaign , the system placing the out 5,940,496 , 5,940,947 ; 5,946,387 ; 5,953,332 , 5,953,405 ;
  bound calls and controlling the rate at which the calls are 65 5,956,397; 5,960,073 ; 5,963,632; 5,970,134 ; 5,978,465;
  placed , e.g., a so -called predictive dialer, relies on the 5,982,868; 5,987,116 ; 5,987,118 ; 5,991,391 ; 5,991,392 ;
  availability of the agent to handle an answered call. If the 5,991,395 ; 5,995,614 ; 5,995,615 ; 5,999,965; 6,002,760 ;
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  6,005,931; 6,044,146 ; 6,058,435 ; 6,061,347 ; 6,064,667;    Thus, it is possible to lose a bid even if an attemptwas made
  6,072,864 ; 6,104,801 ; 6,115,462 ; 6,118,865 ; 6,122,358 ; prior to another bidder. The need to quickly enter the bid , at
  6,122,360 ; 6,122,364; 6,128,380 ; 6,134,530 ; 6,147,975 ;  risk of being too late , makes the process potentially error
  6,157,655 ; 6,175,563; 6,175,564 ; 6,185,292 ; 6,223,165 ;  prone . Proxy bidding , as discussed above , is a known
  6,226,289; 6,229,888 ; 6,230,197; 6,233,332 , 6,333,979 ; 5 technique for overcoming the constraints of Internet com
  6,333,980 ; 6,347,139 ; and U.S. Pat. App . Nos. 010000458        munications and client processing limitations, since it
  Al; 0010024497 A1; 0020006191 Al; 0020009190 A1;                  bypasses the client and telecommunications links and may
  0020019846 Al; and 0020021693 A1, each of which is                execute solely on the host system or local thereto . However,
  expressly incorporated herein by reference .                   proxy bidding undermines some of the efficiencies gained by
     Internet Auctions                                        10 a live market.
    On- line electronic auction systems which allow efficient       A known computer site for auctioning a product on - line
  sales of products and services are well known, for example,       comprises at least one web server computer designed for
  EBAY.COM , ONSALE.COM , UBID.COM , and the like .                 serving a host of computer browsers and providing the
  Inverse auctions that allow efficient purchases of product are    browsers with the capability to participate in various auc
  also known, establishing a market price by competition 15 tions, where each auction is of a single product, at a specified
  between sellers. The Internet holds the promise of further time, with a specified number of the product available for
  improving efficiency of auctions by reducing transaction sale. The web server cooperates with a separate database
  costs and freeing the “ same time- same place' limitations of computer, separated from the web server computer by a
  traditional auctions. This is especially appropriate where the firewall. The database computer is accessible to the web
   goods may be adequately described by text or images, and 20 computer server computer to allow selective retrieval of
  thus a physical examination of the goods is not required product information , which includes a product description ,
  prior to bidding.                                               the quantity of the product to be auctioned , a start price of
     In existing Internet systems, the technological focus has the product, and an image of the product. The web server
  been in providing an auction system that, over the course of computer displays, updated during an auction , the current
  hours to days, allow a large number of simultaneous auc- 25 price of the product, the quantity of the product remaining
  tions, between a large number of bidders to occur. These available for purchase and the measure of the time remain
  systemsmust be scalable and have high transaction through       ing in the auction . The current price is decreased in a
  put, while assuring database consistency and overall system predetermined manner during the auction . Each user is
  reliability. Even so , certain users may selectively exploit provided with an input instructing the system to purchase the
  known technological limitations and artifacts of the auction 30 product at a displayed current price , transmitting an identi
  system , including non -real time updating of bidding infor     fication and required financial authorization for the purchase
  mation , especially in the final stages of an auction. Because of the product, which must be confirmed within a predeter
  of existing bandwidth and technological hurdles, Internet mined time. In the known system , a certain fall - out rate in
  auctions are quite different from live auctions with respect to the actual purchase confirmation may be assumed , and
  psychological factors . Live auctions are often monitored 35 therefore some overselling allowed . Further , after a purchase
   closely by bidders, who strategically make bids, based not        is indicate , the user's screen is not updated , obscuring the
  only on the ' value' of the goods, but also on an assessment ultimate lowest selling price from the user. However , if the
  of the competition , timing, psychology , and progress of the user maintains a second browser, he can continue to monitor
  auction . It is for this reason that so -called proxy bidding, the auction to determine whether the product could have
  wherein the bidder creates a preprogrammed ‘strategy ', 40 been purchased at a lower price, and if so , fail to confirm the
  usually limited to a maximum price, are disfavored . A committed purchase and purchase the same goods at a lower
  maximum price proxy bidding system is somewhat ineffi price while reserving the goods to avoid risk of loss . Thus ,
  cient, in that other bidders may test the proxy, seeking to the system is flawed , and may fail to produce an efficient
   increase the bid price , without actually intending to pur transaction or optimal price . An Internet declining price
  chase, or contrarily , after testing the proxy, a bidder might 45 auction system may provide the ability to track the price
   give up , even below a price he might have been willing to demand curve , providing valuable marketing information .
  pay. Thus, the proxy imposes inefficiency in the system that For example , in trying to determine the response at different
  effectively increases the transaction cost. In order to address prices, companies normally have to conduct market surveys .
  a flurry of activity that often occurs at the end of an auction , In contrast, with a declining price auction , substantial infor
  an auction may be held open until no further bids are cleared 50 mation regarding price and demand is immediately known .
  for a period of time, even if advertised to end at a certain      The relationship between participating bidders and average
  time. This is common to both live and automated auctions.         purchasers can then be applied to provide a conventional
  However, this lack of determinism may upset coordinated price demand curve for the particular product.
  schedules , thus impairing efficient business use of the auc       U.S. Pat. No. 5,890,138 to Godin , et al. (Mar. 30 , 1999 ),
  tion system .                                                55 expressly incorporated herein by reference in its entirety,
     In order to facilitate management of bids and bidding , relates to an Internet auction system . The system implements
  some of the Internet auction sites have provided non            a declining price auction process, removing a user from the
  Hypertext Markup Language (HTML) browser based soft auction process once an indication to purchase has been
  ware ‘applet ' to track auctions . For example , ONSALE         received . See , Rockoff , T. E., Groves , M .; ‘Design of an
  .COM has made available a Marimba Castanet® applet 60 Internet-based System for Remote Dutch Auctions ', Internet
  called Bidwatch to track auction progress for particular Research , v 5 , n 4 , pp . 10-16 , MCB University Press, Jan. 1,
  items or classes of items, and to facilitate bidding thereon. 1995.U.S. Pat. No.5,835,896 , Fisher, et al., issued Nov. 10 ,
   This system , however, lacks real- time performance under         1998 , expressly incorporated herein by reference in its
  many circumstances, having a stated refresh period of 10           entirety, provides method and system for processing and
  seconds, with a long latency for confirmation of a bid , due 65 transmitting electronic auction information over the Internet,
  to constraints on software execution , quality of service in between a central transaction server system and remote
  communications streams, and bid confirmation dialogue . bidder terminals. Those bids are recorded by the system and
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   the bidders are updated with the current auction status           computerized system at the start of the auction , effectively
   information . When appropriate, the system closes the auc         treating this as a sealed -bid auction . At the opposite extreme,
  tion from further bidding and notifies the winning bidders         a bidder who wishes to closely participate in the auction may
  and losers as to the auction outcome. The transaction server       choose to constantly monitor the auction's progress and to
  posts information from a database describing a lot available 5 submit all of his bids in real time. See also , U.S. patent
  for purchase , receives a plurality of bids, stored in a bid application Ser . No. 08 /582,901 filed Jan. 4 , 1996 , which
  database, in response to the information , and automatically      provides a method for auctioning multiple , identical objects
   categorizes the bids as successful or unsuccessful. Each bid     and close substitutes .
  is validated , and an electronic mail message is sent inform     E -Commerce Systems
   ing the bidder of the bid status. This system employs HTTP, 10 U.S. Pat. No. 5,946,669 ( Polk , Aug. 31, 1999), expressly
  and thus does not automatically update remote terminal incorporated herein by reference , relates to a method and
  screens, requiring the e -mail notification feature.           apparatus for payment processing using debit -based elec
      The auction rules may be flexible , for example including tronic funds transfer and disbursement processing using
  Dutch - type auctions, for example by implementing a price addendum -based electronic data interchange . This disclo
  markdown feature with scheduled price adjustments , and 15 sure describes a payment and disbursement system ,wherein
  English -type (progressive ) auctions, with price increases an initiator authorizes a payment and disbursement to a
  corresponding to successively higher bids. In the Dutch type collector and the collector processes the payment and dis
  auction , the price markdown feature may be responsive to bursement through an accumulator agency . The accumulator
  bidding activity over time, amount of bids received , and agency processes the payment as a debit -based transaction
  number of items bid for. Likewise, in the progressive 20 and processes the disbursement as an addendum -based
  auction, the award price may be dependent on the quantity transaction . The processing of a debit -based transaction
  desired , and typically implements a lowest successful bid generally occurs by electronic funds transfer (EFT) or by
  price rule. Bids that are below a preset maximum posted financial electronic data interchange (FEDI). The processing
  selling price are maintained in reserve by the system . If a of an addendum -based transaction generally occurs by elec
  certain sales volume is not achieved in a specified period of 25 tronic data interchange (EDI).
  time, the price is reduced to liquidate demand above the             U.S. Pat. No. 6,005,939 (Fortenberry, et al., Dec. 21 ,
  price point, with the new price becoming the posted price . 1999), expressly incorporated herein by reference , relates to
  On the other hand , if a certain sales volume is exceeded in a method and apparatus for storing an Internetuser's identity
  a specified period of time, the system may automatically and access rights to World Wide Web resources. A method
  increase the price . These automatic price changes allow the 30 and apparatus for obtaining user information to conduct
  seller to respond quickly to market conditions while keeping secure transactions on the Internet without having to re -enter
  the price of the merchandise as high as possible , to the the information multiple times is described . The method and
  seller's benefit. A ‘Proxy Bidding ' feature allows a bidder to apparatus can also provide a technique by which secured
  place a bid for the maximum amount they are willing to pay, access to the data can be achieved over the Internet . A
  keeping this value a secret, displaying only the amount 35 passport containing user-defined information at various
  necessary to win the item up to the amount of the currently security levels is stored in a secure server apparatus, or
  high bids or proxy bids of other bidders. This feature allows passport agent, connected to computer network . A user
  bidders to participate in the electronic auction without process instructs the passport agent to release all or portions
  revealing to the other bidders the extent to which they are of the passport to a recipient node and forwards a key to the
  willing to increase their bids, while maintaining control of 40 recipient node to unlock the passport information .
  their maximum bid without closely monitoring the bidding .            U.S. Pat. No.6,016,484 (Williams, et al., Jan. 18 , 2000 ),
   The feature assures proxy bidders the lowest possible price expressly incorporated herein by reference, relates to a
  up to a specified maximum without requiring frequent system , method and apparatus for network electronic pay
  inquiries as to the state of the bidding. A ‘ Floating Closing ment instrument and certification of payment and credit
   Time' feature may also be implemented whereby the auction 45 collection utilizing a payment. An electronic monetary sys
  for a particular item is automatically closed if no new bids tem provides for transactions utilizing an electronic-mon
  are received within a predetermined time interval, assuming etary system that emulates a wallet or a purse that is
  an increasing price auction . Bidders thus have an incentive customarily used for keeping money, credit cards and other
  to place bids expeditiously , rather than waiting until near the forms of payment organized. Access to the instruments in
  anticipated close of the auction .                              50 the wallet or purse is restricted by a password to avoid
     U.S. Pat. No. 5,905,975 , Ausubel, issued May 18, 1999, unauthorized payments . A certificate form must be com
  expressly incorporated herein by reference in its entirety, pleted in order to obtain an instrument. The certificate form
  relates to computer implemented methods and apparatus for obtains the information necessary for creating a certificate
  auctions. The proposed system provides intelligent systems granting authority to utilize an instrument, a paymentholder
  for the auctioneer and for the user. The auctioneer's system 55 and a complete electronic wallet. Electronic approval results
  contains information from a user system based on bid in the generation of an electronic transaction to complete the
  information entered by the user. With this information , the order . If a user selects a particular certificate , a particular
  auctioneer's system determines whether the auction can be payment instrument holder will be generated based on the
  concluded or not and appropriate messages are transmitted . selected certificate . In addition , the issuing agent for the
  At any point in the auction , bidders are provided the 60 certificate defines a default bitmap for the instrument asso
  opportunity to submit not only their current bids, but also to ciated with a particular certificate , and the default bitmap
  enter future bids, or bidding rules which may have the will be displayed when the certificate definition is com
  opportunity to becomerelevant at future times or prices , into pleted . Finally , the number associated with a particular
  the auction system's database . Participants may revise their certificate will be utilized to determine if a particular party
  executory bids, by entering updated bids. Thus, at one 65 can issue a certificate.
  extreme, a bidder who wishes to economize on his timemay             U.S. Pat. No. 6,029,150 (Kravitz , Feb. 22 , 2000 ),
  choose to enter his entire set of bidding rules into the expressly incorporated herein by reference , relates to a
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  system and method of payment in an electronic payment overspending the bank is willing to risk . For transactions of
  system wherein a plurality of customers have accounts with high monetary value , the cost of polling approaches that of
  an agent. A customer obtains an authenticated quote from a the on -line schemes, but for micropayments, the cost of
  specific merchant, the quote including a specification of polling is a small increase over the traffic incurred by the
  goods and a payment amount for those goods. The customer 5 off -line schemes.
  sends to the agent a single communication including a        Micropayments are often preferred where the amount of
  request for payment of the payment amount to the specific the transaction does not justify the costs of complete finan
  merchant and a unique identification of the customer. The cial security. In the micropayment scheme, typically a direct
  agent issues to the customer an authenticated payment communication between creditor and debtor is not required ;
  advice based only on the single communication and secret 10 rather, the transaction produces a result which eventually
  shared between the customer and the agent and status results in an economic transfer, but which may remain
  information , which the agent knows about the merchant, outstanding subsequent to transfer of the underlying goods
  and /or the customer . The customer forwards a portion of the or services . The theory underlying this micropayment
  payment advice to the specific merchant. The specific mer scheme is that the monetary units are small enough such that
  chant provides the goods to the customer in response to 15 risks of failure in transaction closure is relatively insignifi
  receiving the portion of the payment advice .                 cant for both parties, but that a user gets few chances to
    U.S. Pat. No. 6,047,269 (Biffar, Apr. 4 , 2000 ), expressly default before credit is withdrawn. On the other hand , the
  incorporated herein by reference, relates to a self-contained transaction costs of a non -real time transactions of small
  payment system with creating and facilitating transfer of monetary units are substantially less than those of secure ,
   circulating digital vouchers representing value. A digital 20 unlimited or potentially high value, real time verified trans
  voucher has an identifying element and a dynamic log . The actions, allowing and facilitating such types of commerce.
  identifying element includes information such as the trans     Thus, the rights management system may employ applets
  ferable value , a serial number and a digital signature . The local to the client system , which communicate with other
  dynamic log records the movement of the voucher through applets and /or the server and /or a vendor/rights-holder to
  the system and accordingly grows over time. This allows the 25 validate a transaction , at low transactional costs.
  system operator to not only reconcile the vouchers before         The following U.S. Patents , expressly incorporated herein
  redeeming them , but also to recreate the history of move by reference , define aspects of micropayment, digital cer
  ment of a voucher should an irregularity like a duplicate tificate, and on - line payment systems: U.S. Pat. Nos. 5,930 ,
  voucher be detected . These vouchers are used within a          777 ; 5,857,023 ; 5,815,657 ; 5,793,868; 5,717,757 ; 5,666 ,
  self-contained system including a large number of remote 30 416 ; 5,677,955 ; 5,839,119 ; 5,915,093; 5,937,394 ; 5,933 ,
  devices that are linked to a central system . The central 498 ; 5,903,880 ; 5,903,651 ; 5,884,277; 5,960,083 ; 5,963,
  system can e linked to an external system . The external 924 ; 5,996,076 ; 6,016,484 ; 6,018,724 ; 6,021,202 ; 6,035 ,
  system , as well as the remote devices, is connected to the 402; 6,049,786 ; 6,049,787; 6,058,381 ; 6,061,448; 5,987 ,
  central system by any one or a combination of networks. The 132; 6,057,872 ; and 6,061,665 . See also , Rivest and Shamir,
  networks must be able to transport digital information , for 35 Tay Word and MicroMint: Two Simple Micropayment
  example the Internet, cellular networks, telecommunication Schemes ' (May 7 , 1996 ); Micro PAYMENT transfer Proto
  networks , cable networks or proprietary networks . Vouchers col (MPTP) Version 0.1 (22 Nov. 1995 ) et seq ., http : //
  can also be transferred from one remote device to another          www.w3.org/pub/WWW/TR/WD-mptp ; Common Markup
  remote device. These remote devices can communicate                for web Micropayment Systems, http://www.w3.org/TR/
  through a number ofmethods with each other. For example , 40 WD-Micropayment-Markup (9 Jun . 1999 ); “ Distributing
  for a non -face - to - face transaction the Internet is a choice, for Intellectual Property : a Model of Microtransaction Based
  a face - to - face or close proximity transactions tone signals or Upon Metadata and Digital Signatures ’, Olivia, Maurizio ,
  light signals are likely methods . In addition , at the time of a http://olivia.modlang.denison.edu/~olivia/RFC/09/ , all of
  transaction a digital receipt can be created which will which are expressly incorporated herein by reference .
  facilitate a fast replacement of vouchers stored in a lost 45 See, Game Theory references cited in U.S. patent appli
  remote device .                                                    cation Ser. No. 10 / 385,389 . See , also : U.S. Pat. Nos. 4,977 ,
     Micropayments                                                   595; 5,237,159 ; 5,392,353 ; 5,511,121 ; 5,621,201; 5,623,
    U.S. Pat. No. 5,999,919 (Jarecki, et al., Dec. 7 , 1999),        547; 5,679,940 ; 5,696,908 ; 5,754,939 ; 5,768,385; 5,799,
  expressly incorporated herein by reference , relates to an         087 ; 5,812,668; 5,828,840 ; 5,832,089 ; 5,850,446 ; 5,889 ,
  efficientmicropayment system . Existing software proposals 50 862 ; 5,889,863; 5,898,154 ; 5,901,229 ; 5,920,629; 5,926 ,
  for electronic payments can be divided into on -line             548; 5,943,424 ; 5,949,045 ; 5,952,638 ; 5,963,648; 5,978,
  schemes which require participation of a trusted party ( the 840 ; 5,983,208 ; 5,987,140 ; 6,002,767; 6,003,765; 6,021,
  bank ) in every transaction and are secure against overspend     399 ; 6,026,379; 6,029,150 ; 6,029,151; 6,047,067; 6,047 ,
   ing , and ‘off - line’schemes which do notrequire a third party 887; 6,055,508 ; 6,065,675; and 6,072,870 , each ofwhich is
  and guarantee only that overspending is detected when 55 expressly incorporated herein by reference . See also , U.S.
  vendors submit their transaction records to the bank (usually Pat. Nos. 6,243,684 ; 6,230,197; 6,229,888 ; 6,226,360 ;
  at the end of the day ). A new ‘hybrid ' scheme is proposed 6,226,287 ; 6,212,178 ; 6,208,970 ; 6,205,207 ; 6,201,950 ;
  which combines the advantages of both ‘on -line ' and 'off 6,192,413 ; 6,192,121 ; 6,185,283; 6,178,240; 6,173,052;
  line electronic payment schemes. It allows for control of 6,170,011 ; RE37,001; 6,157,711 ; 6,154,535 ; 6,154,528 ;
  overspending at a cost of only a modest increase in com- 60 6,151,387; 6,148,065 ; 6,144,737; 6,137,870 ; 6,137,862;
  munication compared to the off- line schemes. The protocol 6,134,530 ; 6,130,937 ; 6,128,376 ; 6,125,178; 6,122,484 ;
   is based on probabilistic polling. During each transaction , 6,122,364 ; 6,122,358 ; 6,115,693 ; 6,102,970 ; 6,098,069;
  with some small probability, the vendor forwards informa 6,097,806 ; 6,084,943 ; 6,070,142 ; 6,067,348; 6,064,973 ;
   tion about this transaction to the bank . This enables the bank   6,064,731 ; 6,064,730 ; 6,058,435 ; 6,055,307 ; 6,052,453 ;
  to maintain an accurate approximation of a customer's 65 6,049,599 ; 6,044,368 ; 6,044,149; 6,044,135 ; 6,041,118 ;
  spending . The frequency of polling messages is related to         6,041,116 ; 6,035,021; 6,031,899; 6,026,156 ; 6,026,149;
  the monetary value of transactions and the amount of               6,021,428 ; 6,021,190 ; 6,021,114 ; 6,018,579 ; 6,016,344 ;
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  6,014,439 ; 6,011,845 ; 6,009,149 ; 6,005,928 ; 6,005,534 ;        embodiments is not intended to , and does not, limit or
  6,002,760 ; 5,995,948 ; RE36,416 ; 5,991,761; 5,991,604 ;         constrain the scope of other embodiments of the invention .
  5,991,393 ; 5,987,116 ; 5,987,115 ; 5,982,857 ; 5,978,471 ;          The present invention provides, according to one embodi
  5,978,467 ; 5,978,465; 5,974,135 ; 5,974,120 ; 5,970,132 ;        ment, a system and method for intelligent communication
  5,966,429 ; 5,963,635 ; 5,956,392; 5,949,863 ; 5,949,854 ; 5 routing within a low - level communication server system .
                                                               Therefore, it allows replacement or supplementation of
  5,949,852; 5,946,394 ; 5,946,388 ; 5,943,403; 5,940,813; telephone      numbers, IP addresses , e -mail addresses and the
  5,940,497 ; 5,940,493; 5,937,390 ; 5,937,055 ; 5,933,480 ; like, to identify
  5,930,339; 5,926,528 ; 5,924,016 ; 5,923,746 ; 5,918,213;                     targets accessible by the system with high
                                                               level definitions, which are contextually interpreted at the
  5,917,893 ; 5,914,951 ; 5,913,195; 5,912,947 ; 5,907,601; 10 time of communications
  5,905,979; 5,903,641; 5,901,209; 5,898,762; 5,898,759; communication. Thereforerouting   , the
                                                                                                  , to appropriately direct the
                                                                                                 target of a communication is
  5,896,446 ; 5,894,505 ; 5,893,902; 5,878,126 ; 5,872,833 ; defined by an algorithm , rather than a predetermined     address
  5,867,572 ; 5,867,564; 5,867,559; 5,857,013 ; 5,854,832 ;         or simple rule , and the algorithm evaluated in real time for
  5,850,428; 5,848,143 ; 5,841,852; 5,838,779; 5,838,772 ;          resolution of the target, to deliver the communication or
   5,835,572 ; 5,828,734 ; 5,828,731; 5,825,869; 5,822,410 ; 15 establish a real or virtual channel.
   5,822,401; 5,822,400 ; 5,815,566 ; 5,815,554; 5,815,551;            According to another embodiment, the optimization and
  5,812,642 ; 5,806,071; 5,799,077 ; 5,796,816 ; 5,796,791 ;     control is performed through a distributed architecture , and
  5,793,846 ; 5,787,159; 5,787,156 ; 5,774,537 ; 5,768,355 ;     may be implemented at a high level.
  5,761,285; 5,748,711 ; 5,742,675; 5,740,233 ; RE35,758 ;          Alternately , the intelligence of the server may be used to
  5,729,600 ; 5,727,154 ; 5,724,418 ; 5,717,741 ; 5,703,935 ; 20 implement telephony or computer-telephony integration fea
  5,701,295 ; 5,699,418 ; 5,696,818 ; 5,696,809; 5,692,034 ; tures , other than destination or target .
  5,692,033 ; 5,687,225 ; 5,684,863; 5,675,637 ; 5,661,283 ;        Therefore, according to the present invention , communi
  5,657,074; 5,655,014 ; 5,655,013 ; 5,652,788; 5,646,988 ; cations are , or may be, routed or other telecommunications
  5,646,986 ; 5,638,436 ; 5,636,268; 5,636,267; 5,633,917 ; features implemented , inferentially or intelligently , by a
  5,625,682 ; 5,625,676 ; 5,619,557 ; 5,610,978 ; 5,610,774 ; 25 processor within the communications management architec
  5,600,710 ; 5,594,791; 5,594,790 ; 5,592,543 ; 5,590,171; ture . For example , in a call center, the software system
  5,588,049; 5,586,179 ; 5,581,607; 5,581,604 ; 5,581,602; which handles virtual or real circuit switching and manage
  5,579,383 ; 5,579,377 ; 5,577,112 ; 5,574,784 ; 5,572,586 ; ment resolves the destination using an algorithm or the like,
  5,572,576 ; 5,570,419 ; 5,568,540 ; 5,561,711 ; 5,559,878 ; rather than an unambiguous target.
  5,559,867; 5,557,668 ; 5,555,295 ; 5,555,290 ; 5,546,456 ; 30 An embodiment according to the present invention , the
  5,546,452 ; 5,544,232; 5,544,220 ; 5,537,470; 5,535,257; control over switching in a circuit switch is partitioned
  5,533, 109 ; 5,533,107 ; 5,533 , 103 ; 5,530,931; 5,528,666 ; together with intelligent functions.
  5,526,417 ; 5,524,140 ; 5,519,773 ; 5,517,566 ; 5,515,421 ;      Intelligent functions include, for example, but are not
  5,511,112 ; 5,506,898 ; 5,502,762; 5,495,528 ; 5,495,523 ; limited to , optimizations, artificial neural network imple
  5,493,690 ; 5,485,506 ; 5,481,596 ; 5,479,501; 5,479,487 ; 35 mentation , probabilistic and stochastic process calculations,
  5,467,391; 5,465,286 ; 5,459,781; 5,448,631; 5,448,624 ; fuzzy logic , Bayesian logic and hierarchal Markov models
  5,442,693; 5,436,967; 5,434,906 ; 5,432,835 ; 5,430,792 ; (HMMs), or the like.
  5,425,093 ; 5,420,919; 5,420,852 ; 5,402,474 ; 5,400,393 ;       A particularly preferred embodiment provides a skill
  5,390,236 ; 5,381,470 ; 5,365,575 ; 5,359,645 ; 5,351,285 ; based call automatic call director for routing an incoming
   5,341,414 ; 5,341,412 ; 5,333,190 ; 5,329,579 ; 5,327,490 ; 40 call in a call center to an appropriate or optimal agent. While
  5,321,745 ; 5,319,703 ; 5,313,516 ; 5,311,577 ; 5,311,574 ; skill-based routing technologies are known in the art, the
  5,309,505 ; 5,309,504; 5,297,195 ; 5,297,146 ; 5,289,530 ; intelligence for routing the call is separate from the voice
  5,283,818 ; 5,276,732 ; 5,253,289; 5,251,252 ; 5,239,574 ; routing callmanagement system . Thus, the prior art provides
  5,224,153; 5,218,635 ; 5,214,688 ; 5,185,786 ; 5,168,517; a separate and distinct process , and generally a separate
  5,166,974 ; 5,164,981; 5,163,087 ; 5,163,083; 5,161,181; 45 system or partition of a system , for evaluation of the skill
   5,128,984 ; 5,121,422 ; 5,103,449 ; 5,097,528 ; 5,081,711 ; based routing functionality . For example , while the low level
  5,077,789; 5,073,929; 5,070,526 ; 5,070,525 ; 5,063,522; voice channel switching is performed in a PBX , the high
   5,048,075 ; 5,040,208 ; 5,020,097 ; 5,020,095 ; 5,016,270 ; level policy management is often performed in a separate
  5,014,298 ; 5,007,078 ; 5,007,000 ; 4,998,272; 4,987,587; computer system , linked to the PBX through a packet
   4,979,171; 4,975,841 ; 4,958,371; 4,941,168 ; 4,935,956 ; 50 switched network and/or bus data link .
  4,933,964 ; 4,930,150 ; 4,924,501; 4,894,857 ; 4,878,243 ;           The present invention , however , integrates evaluation of
  4,866,754 ; 4,852,149 ; 4,807,279 ; 4,797,911 ; 4,768,221 ; intelligent aspects of the control algorithm with the com
  4,677,663 ; and 4,286,118 , each ofwhich is expressly incor munications management. This integration therefore allows
  porated herein by reference .                                     communications to be established based on an inferential
                                                                 55 description of a target, rather than a concrete description ,
              SUMMARY AND OBJECTS OF THE                            and allows a plurality of considerations to be applied , rather
                          INVENTION                                 than a single unambiguous decision rule.
                                                                       An aspect of the present invention therefore proposes an
      The present invention provides a method and apparatus architectural change in the computer telephony integrated
  for optimizing the targeting of a communication with a 60 (CTI) systems, wherein the CTI host takes on greater
  destination , based on characteristics of the source or com       responsibilities, for example intelligent tasks, than in known
  munication , characteristics of the destination , and the costs systems. In this case , the host is , for example , a PC server
  and benefits involved for each , especially where a plurality having a main processor, for example one or more Intel
  of sources are seeking to contact a plurality of destinations, Pentium 4 Xeon or AMD Athlon MP processors , and one or
   e.g., simultaneously or otherwise inconsistently .            65 more voice channel processors , such as Dialogic D /320 -PCI
     The disclosure describes a number of embodiments of the        or D /160SC /LS, or PrimeNet MM PCI, or the like. In this
   invention . Language describing one embodiment or set of          type of system , the voice channel processor handles con
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  nections and switching , but does not implement control. The processing of communications is generally not time-sensi
  control information is provided by the main processor over, tive , and therefore delays ofminutes or hours are tolerable .
  for example , a PCI bus, although some or all control Indeed , on of the classifications of a communication used to
  information may also be relayed over a mezzanine bus . target the communication may represent its time-sensitivity.
  Because the actual voice channel processing is offloaded 5 For example , a real-time caller may have a non -time critical
  from the main processor , real time response with respect to issue . The system may record and /or transcribe a message
  voice information is not required . Therefore , the main pro     from the caller, which can then be processed in an email
  cessor may operate and be controlled by a standard operat processing queue. Likewise, an email or SMSmessage may
  ing system , in contrast to a real time operating system . While represent a requirement for real -time assistance, and there
  the control processor does operate under certain latency 10 fore a long turnaround delay may be poorly tolerated ; such
  constraints, these are quite long as compared to the response a communication may be routed to a live agent for imme
  latency required of the voice channel processors. This, in diate handling , as appropriate .
  turn , allows themain processor(s) to undertake a plurality of     According to one embodiment, a set of skills are first
  tasks which are not deterministic , that is , the time required defined , which are generally independent skills, although
  to complete processing of a task is unknown and is not 15 high cross correlations between skills would not defeat the
   necessarily completed within a time window . However , by             utility thereof. The skill definitions may be quite persistent,
  using state of the art processors , such as a 3.06 GHz Pentium for example over a particular campaign , call center, or even
  processor, the amount of processing which may be under multiple call centers and multiple campaigns. The skills
  taken , meeting a reasonable expectation of processing generally are not subject to change after being defined ,
  latency, is substantial. Thus, operating under the same 20 although through advanced processing or reprocessing of
  instance of the operating system , for example sharing the data , clusters in multidimensional space may be defined or
  same message queue , as the interface between the main revised , representing skills '. Likewise , a manual process
  processor and the voice channel processor (s), the system may be employed to define the skill set. Since one purpose
  according to the present invention may process advanced for defining these skill sets is to distinguish between agents ,
  and complex algorithms for implementing intelligent con- 25 it is preferred that the skill definitions are defined to empha
  trol. This architecture reduces the required bandwidth for size the relevant differences, that is , each parameter of a skill
  communications with an external high level management set correlates strongly with a discernable characteristic (or
  system , as well as the processing load thereon . Likewise , set of characteristics ) of a call, and that as defined , there is
   since significant decisions and resource allocations aremade          a correlation between a value of that characteristic and
  within the switching system , the need for high quality of 30 success (however defined ) in handling a call having the
  service communications channels between the switching discernable characteristic or set of characteristics . While it is
  system and management system is also reduced .                also possible to have a system in which agent characteristics
     In a voice communication system embedded in a tradi are defined according to measurable criteria, whether or not
  tional PBX - type system , the intelligent algorithm for con       these vary significantly among agents , and whether or not
  trolling the voice channels preferably requires minimal 35 these correlate strongly with outcome, however in such a
  access to a disk or mass -storage based database . That is , for case the agent skill set vector would have to be processed for
   any transaction to be processed, preferably either all infor effective usage , and thus may result in inefficiencies in both
  mation is available to the main processor at the commence          data acquisition and optimization implementation . Of
  ment of the process, or an initial request is made at com          course , a first stage of agent skill set processing could be
  mencement of the process , with no additional requests 40 performed in advance of the optimization , to produce an
  necessary to complete the process, although a stored data          intermediate data format having the desired characteristics .
  base may be updated at the conclusion of the process. For             It is also possible for a ‘ skill' to be arbitrarily defined , that
  example , as a call is received , sufficient information is is, a cluster of communications objects which have a com
   gathered to define the caller , either by identity or character mon characteristic or set of characteristics are routed to a
  istics . This definition may then trigger an initial database 45 common destination soon after initial identification , even if
  lookup , for example to recall a user transaction file or a user that destination is arbitrarily selected .
  profile . Preferably , therefore , a table or other data structure    Next, for any given task , the skills are typically weighted .
  is stored in low - latency memory, for example, double data (In the case of a single relevant skill , the optimization
  rate dynamic random access memory (DDR -RAM ), which according to the present invention may have limited advan
  holds the principal parameters and information necessary for 50 tage , while with a plurality of relevant skills, the optimiza
  execution of the algorithm . Therefore, preferably agent and tion has a more significant effect). That is, the importance of
  system status information is present and maintained locally , any skill with respect to the task is defined or predicted . This
  and need not be recalled for each transaction . Of course , in may also be a manual or automated process . In the case of
  hardware environments where memory or storage resources an automated process for weighting the skills , past tasks
  are nothighly constrained , these may be used as appropriate . 55 similar in nature are analyzed to determine which skills were
      According to one embodiment of the invention , a process involved , and to what extent. Typically , since the skill set
  is provided for optimizing the selection of an agent within definitions are normative , the task -skill relationships are
  the voice channel switching system . This process is a multi derived from data for various or all agents, and need not be
  step process. Only the later part of the process generally limited to the data pertaining to a single or respective agent.
  need be completed in a time-critical fashion , e.g., as a 60 The weighting may be adaptive , that is, the weighting need
  foreground task . The initial part(s) of the process may be not be invariant, and may change over time based on a
   implemented over an extended period of time, so long as the number of factors. The weightings may also be time depen
  data available for transactions is sufficient current to avoid     dent, for example following a diurnal variation .
  significant errors. It is particularly noted that the present         Each agent may be assigned a metric with respect to each
   invention is not limited to the routing of voice calls, and in 65 skill. As discussed above , the skill assignment may be
  fact may be used to control purely data communications. arbitrary, as a means to ensure that a cluster of communi
  According to another embodiment of the invention , the cations are handled together; however, once this decision is
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  made, the allocation may be implemented by the ‘ skill ’ may be applied for each skill , that is , tolerance to mismatch .
  metric . This process may be manual or automated , however, For example, while call received by a call center, for
  a number of advantages accrue from an automated analysis technical support, may seek an agent who is more knowl
  or assignment of agent skill level. Typically , an initial skill edgeable than the caller is with respect to the problem , but
   level will be assigned manually or as a result of an off -line 5 not one who is so far advanced that a communication gap
  assessment. As the agent is presented with tasks, the profi would be apparent. Thus , an optimum skill parameter as well
  ciency of the agent is analyzed , and the results used to define as a range is defined . In like manner, other descriptors of a
  skill -specific metrics . As stated above , since the skill defi statistical function or distribution may be employed , for
  nitions are normative, the skills of one agent are compared
  or comparable to skills of others . For example, the skill sets 10 example   , kurtosis and skew .
                                                                        It is noted that there are a number of ways of scoring
  are assigned using a multivariate analysis technique , based outcome          of a call , and indeed , a number of parallel scoring
   on analysis of a plurality of transactions, predicting the best systems may       be employed , although they should be consis
  set of skills consistent with the results achieved. In this
  analysis , each skill metric may be associated with a reli         tently  applied ; that is, if an agent is selected for handling a
   ability indicia ;that is , in some instances,where the outcome 15 call based on one paradigm , care should be employed in
  of clearly determinable , and a skill as defined is highly scoring the agent or the call outcome using a different
  correlated with the outcome, the reliability of the determined paradigm . Such cross analyses , however, may be useful in
  skill value for a statistically significant sample size is high . determining an optimum outcome analysis technique .
  On the other hand , where a particular skill is relatively             When a new matter is to be assigned to an agent, the pool
  unrelated to the tasks included within the data analysis set , 20 of agents are analyzed to determine, based on the predefined
  that is , the outcome factor is relatively uncorrelated with the skills, which is the best agent. Selecting the best agent for a
  value of the skill, the reliability of a determination of an task is dependent on a method of scoring outcome, as
  agent skill will be low .                                            discussed above. In some instances, there is a relatively
     A related issue relates to inferring an agent skill level for simple process. For example, agents entrusted to sell a single
  a skill parameter where little or no data is available . For this 25 product can be scored based on number of units sold per unit
  task , collaborative filtering ( also known as social filtering )   time, or the time it takes to close a sale. However, where
  may be appropriate . A collaborative filter seeks to infer          different products are for sale , optimization may look at
  characteristics of a person based on the characteristics of         different parameters , such as call duration , revenues per call
  others having similar associated parameters for other fac or unit time, profit per call or unit time, or the like . As the
  tors. See references cited and incorporated by reference 30 variety of options for a user grows, so does the theoretical
  above . In this case , there is only a small analytic difference issues involved in scoring an agent.
  between a parameter for which data is available from a                It is also possible for agents to engage in an auction , that
  respective agent, but yields an unreliable measurement, and is, agents bid for a caller. In this case, an agent must be
  a parameter for which data is unavailable , but can be sufficiently competent to handle the call based on the infor
  inferred with some reliability . Therefore, the skill determin- 35 mation available , and agents with skills far in excess of those
  ing process may employ both techniques in a composite; as required may be excluded from the bidder pool. For
  more data becomes available relating to an actual skill level example , agents may be compensated on a commission
  of an agent with respect to a skill parameter, reliance on basis . The bidding may involve an agent bidding a commis
  inferred skill levels is reduced . It is therefore an aspect of sion rate (up to the maximum allowed ). In this way, the
  one embodiment ofthe invention that a collaborative filter is 40 employer gets the benefit of competition between agents .
  used to infer agent skill levels where specific data is unavail     The bid , in this instance , may be a manual process entered
  able. It is also an aspect of an embodiment of the invention into by the agent as a prior call is being concluded .
  that in addition to a skill level metric , a reliability estimate      The bid may also be automatically generated at an agent
  for the measurement of the skill level metric is also made    station ,based on both objective and subjective factors. See ,
  available .                                                45 WO 20050290297 , expressly incorporated herein by refer
      In the case of arbitrarily assigned skills, these may also be ence, and Steven M.Hoffberg , 'Game Theory in the Control
  assigned manually or automatically, based on various crite of Ad Hoc Networks', Wireless Systems Design 2004 (San
  ria .                                                                Diego , March 8 ). That is , a bid may be automatically defined
      It is noted that in defining a desired agent profile for a and submitted on behalf of an agent. The bid may be defined
  task , the skill metrics themselves are subject to unreliability. 50 based on an economic or other criteria . In the case of
  That is, the target skill levels themselves are but an estimate subjective valuation and bidding , the system may produce
  or prediction of the actual skills required . Therefore , it is objectively inefficient outcomes; however, this is not a
  also possible to estimate the reliability of the target skill defect in the system , since it is notbeing asked to objectively
  level deemed desired . Where the target skill level is low or optimize the outcome. On the other hand, a bidder may be
  its estimate unreliable , two separate and distinct parameters, 55 presented with information which represents an objective
  the selected agent may also have a low or unreliably analysis , and thus permit a user to choose to accept an
  determined skill level for that attribute . On the other hand, objectively optimized bid , or to choose a different bid .
  where a skill is reliably determined to be high , the agent skill Ideally , the system is " strategyless" , and thus the typically
  profile should also be high and reliably determined .                desired bid will be the objectively optimal one, but in
      In other instances, the metric of skill does not represent a 60 various circumstances, a usermay select a different bid , and
  quantitative metric , but rather a qualitative continuum . For therefore likely outcome. Rational basis for this different bid
  example , the optimal speech cadence for each customer may include incomplete information held by an automated pro
  differ. The metric , in this case , represents a speech cadence cessor, collusion , or other errors or factors which cause the
  parameter for an agent. The idea is not to maximize the subjective bid to rationally differ from that presented auto
  parameter, but rather to optimize it. Therefore, reliability in 65 matically. The optimization of agent selection may also be
  this instance does not equate to a reduction in estimated influenced (in either an automated or non -automated imple
  magnitude. It is also noted that a further ancillary parameter mentation ) by other factors , such as training opportunities .
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   Therefore, in determining a cost benefit of selection of a         increasing the amount of information which must be com
  particular agent, a training cost /benefit may also be included . municated between the switch control and a high -level
      Thus, according to a simplistic analysis , the agentwith the system is undesirable , thus limiting the ability to extract
  highest score is selected . This is only optimum if we assume low -level information from the caller. Such information may
  that there is uniform incremental cost in selecting each 5 include preferred language , a voice stress analysis , word
  agent, and that the system remains static as a result of the cadence, accent, sex , the nature of the call (IVR and/or
  selection . On the other hand , if agent costs differ, or the speech recognition ), personality type , etc. In fact, much of
  system status is materially altered on the basis of the this information may be obtained through interaction and /or
  selection , or there are extrinsic factors , such as training, then analysis of the caller during the queue period . Further, in
  the optimum may also differ. A number of factors may also 10 some instances, it may be possible to resolve the caller's
   influence optimality of selection . While most are merely issues without ever connecting to an agent, or at least to
  business -based considerations, some may be politically determine whether a personal or automated resolution is
  incorrect (bad public policy ), or even illegal. For example , preferred. According to an aspect of the invention, the
  an optimization may take into account discrimination on an switch itself may control and analyze the interaction with the
  illegal basis, resulting in harm to either callers or agents 15 caller. Advantageously, the switch may further perform a
  within a protected class. That is, a traditionally discrimi sensitivity analysis to determine which factors relating to the
  nated -against minority may be subjected to automated and call are most useful with respect to selecting an appropriate
  institutionalized discrimination as a result of an algorithm      agent, and more particularly by limiting this analysis to the
  which favors a discriminatory outcome. In fact, the discrimi agents within the pool which are likely to be available.
  natory outcome may be both efficient and optimal, under an 20 Further information characterizing the user may also be
  economic or game theory analysis . However , this may be gathered to construct a more detailed user profile .
  undesired . One way to counteract this is to estimate the            It is noted that, in some cases, a caller prefers to remain
  discriminatory impactof the algorithm as a whole and apply passive in the queue, while in other instances , the caller
  a global antidiscriminatory factor. While this has the effect would prefer to actively assist in optimizing the experience .
  of correcting the situation on an overall level, it results in 25 This does not necessarily correlate with a universal caller
  significant inefficiencies, and may result in a redistribution profile , nor the optimal selection of agent. This can be
   in an “ unfair ' manner. Further, the antidiscriminatory factor quickly ascertained , for example through IVR . It is further
  is itself a form of discrimination .                              noted that an efficient analysis performed by the switch may
      Another method for approaching this problem is to ana differ from an efficient analysis performed or controlled by
  lyze the profile or skill vectors of the presumably discrimi- 30 a high level system . For example, a high level system may
  nated - against agent or customer classes , and compare this to employ speech recognition technology for each caller in a
  the corresponding vectors of non -discriminated -against queue . The switch , on the other hand, would likely not be
  class of agents or customers. Assuming that discrimination able to implement speech recognition for each caller in a
  occurs on a class basis , then , a corrective factor may be used large queue internally. Further, since the profile of the caller
  to normalize components of the vector to eliminate the 35 and the correspondence thereof to the agent skill profile, as
  discriminatory effect.                                            well as the correlation to the outcome, is dependent on the
      A further method of remediating the perceived discrimi selection of characteristics for analysis and outcomemetric ,
  nation is through training. In this case , the presumably the parameters of each , according to the present invention ,
  objective outcome determinations are not adjusted , nor is the will also likely differ.
  “ economic ' model for optimal agent selection disturbed . 40 Returning now to the problem of routing a call using an
  Instead , a mismatch of the skill profile of an agent with the intelligent switch , the condition of optimality in the case of
  caller is used as an opportunity to modify behavior (pre           equal incremental cost, a stationary system condition as a
  sumably of the agent), such that the deficiency is corrected . result of the selection, and scalar skill parameters having a
  While the discussion herein generally relates to a set of magnitude correlated to value, is denoted by the formula :
  cooperative agents handling calls from non -cooperative cli- 45 An = max S (rs ,a , s;), which denotes that Agent ‘ n ’ is selected
  ents, this is not a predicate for use or application of the by maximizing the sum , for each of the required skills si, of
  system and method.                                                the product ofweighting for that skill rs;, and the score for
     For example, a call center agentmay have a characteris          agent n ansi.
  tically ethnic accent. In one case, the agent accentmay be            As stated above,this optimization makes two very impor
  matched with a corresponding caller accent, assuming that 50 tant, and not always applicable assumptions. First, more
  data shows this to be optimum . However, assuming that highly skilled agents often earn higher salaries . While, once
  vocal ethnicity relates to socioeconomic status , the result scheduled , presumably the direct cost is fixed , over the long
  may be that the value of the transaction (or other score            term , the pool of agents must be adjusted to the require
  value ) is associated with this status. The goal would there       ments, and therefore the selection of an “ expensive' agent
  fore be for the agent to retrain his or her accent, and indeed 55 leads to increased costs. On the otherhand , by preferentially
  use a different accent based on an inferred optimal for the selecting the skilled agent over the unskilled agent, the job
  caller, or to overcome this impediment by scoring well in experience for the skilled agentmay be diminished , leading
  transactions involving those other than a “ corresponding ' to agent retention problems. Likewise , the unskilled agent is
  accent. Each of these is subject to modification through not necessarily presented with opportunities for live train
  agent training. Therefore, it is apparent that the optimization 60 ing. Thus, it is seen that the agent cost may therefore be a
  may be influenced by economic and non -economic factors, significant variable .
  and the optimization may include objective and subjective             The formula is therefore modified with a cost function as
  factors.                                                           follows:
     The system may also intelligently analyze and control                 An =max [Acn1 ? (rs ,ang;) + ACn2],
  other aspects of telecommunications besides call routing . 65
  For example, it is particularly advantageous to characterize         wherein Acni and Acn2 are agent cost factors for agent n .
  the caller, especially while the call is in the queue. However, To determine the anticipated cost, one might, for example ,
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  divide the daily salary by the average number of calls per           also considered , in addition to its mean value. More gener
  day handled by the agent. This ,however, fails to account for        ally, each parameter may itself be a vector, representing
   the fact that the average length of a call may vary based on different aspects.
  the type of call, which is information presumed available,              It is noted that the various factors used in the system may
  since the skill set requirements are also based on a classi- 5 be adaptive, that is, the predicted values and actual values
   fication of the type of call. Further, an agent highly skilled are compared , and the formula or variables adjusted in a
  in some areas may be relatively unskilled in others, making manner which is expected to improve the accuracy of the
  an average call duration or average productivity quite mis prediction . Since outcome is generally measured in the same
  leading . Another cost to be considered is training cost. Since metric as the cost function , the actual cost is stored along
   this is generally considered desirable, the actual value may 10 with the conditions of the predictive algorithm , and the
  be negative, i.e., an unskilled trainee may be selected over parameters updated according to a particular paradigm , for
  a highly skilled agent, for a given call , even though the example an artificial neural network or the like. Typically,
  simple incremental agent costs might tend toward a different there will be insufficient data points with respect to a system
  result. Likewise, selection of an agent for a certain call may considered static to perform an algebraic optimization .
  be considered a reward or a punishment for good or bad 15 The present invention provides cost function optimization
  performance, and this may also be allocated a cost function . capabilities at a relatively low level within the call routing
   The key here is that all of these disparate factors are system . Thus, for example , prior systems provide relatively
  normalized into a common metric, ' cost , which is then high level software , operating on massive customer relations
  subject to numeric analysis. Finally, the optimization may management (CRM ) database systems, to seek optimization .
  itself evolve the skill sets and cost function , for example 20 On the other hand , according to the present invention , the
  through training and reward/punishment. The cost of the parameters are supplied in advance, generally in a batch
  ' connection between a caller and an agent may also be format, to the low level routing and computer integrated
  considered , for example in a multi-location call center, or telephony (CTI) software, which computes the cost func
  where agents are compensated on a per -call basis.                   tions . Call outcome data is generally available during and
      Another factor to be considered in many cases is antici- 25 after a call to the high level software, which can then set or
  pated outcome. In some instances , the outcome is irrelevant, adjust values as necessary for the future . It is noted that,
  and therefore productivity alone is the criterion . On the other generally, the architecture according to the present invention
  hand , in many cases, the agents serve a business purpose , would not generally provide agent scheduling information ,
  and call outcomes may be graded in terms of achieving since this represents a task separate from the call routing
  business goals. In many instances , the business goal is 30 functions. Therefore, known systems which integrate both
  simple an economic parameter, such as sales volume, profit , tasks are typically distinguished from the present invention .
  or the like, and may be directly computed within a cost However, it would be possible as a separate process for this
  function normalized in economic units. On the other hai              to be performed on the telephony server according to the
  some business goals, such as customer satisfaction , must be present invention . More generally, the updating of agent
  converted and normalized into economic terms prior to use 35 skill tables or a database , and agent scheduling and call
   in an optimization . In any case , the expected outcome center management, are performed on high level systems
  resulting from a particular agentmay be added as a factor in which are discrete from the telephony server. These systems
  the cost function .                                                  typically access large databases , generate reports , and inte
      Another factor to consider in making a selection of an grate many different functions independent of the commu
  agent in a multi -skill call center is the availability of agents 40 nications functions.
  for other calls , predicted or actual. Thus, while a selection of        The advantage of a preferred architecture according to the
  an agent for one mattermay be optimal in a narrow context, present invention is that when a call is received , it can be
  the selected agent might be more valuable for another routed in real time, rather than after a possibly significant
  matter . Even if the other matter is predicted or statistical, in delay. Further , this data processing partition reduces data
   some instances it is preferred to assign more specialized 45 communications bandwidth requirements and reduces trans
  agents to matters that they can handle, rather than assigning actional load on the CRM system . In addition , this archi
  multitalented agents . This is represented as follows:               tecturalpartition reduces the need for the CRM system to be
          Aq=max ( {{[AC3(r5,098;)+ AC,2]+Bcm } +Cc, )+ DC ) ,         involved in low level call management, and reduces the need
                                                                       for the CTI software to continually interact with the high
      wherein Bc represents a term for the anticipated change in 50 level CRM software . This , in turn , potentially allows use of
  value of agent n as a result of the selection , Cc represents a simple architecture CTI platforms using standard operating
  term which indicates the anticipated value of the transaction systems.
  resulting from the selection of agent n , and Dc represents the         According to a preferred embodiment, the matter skill
  opportunity cost for allocating agent n to the particular call. requirements, agent skill data , and other parameters, are
      In the case ofcompeting requests for allocation , a slightly 55 provided to the CTI software , for example as an ASCII table.
  different formulation of the problem may be stated. In that The CTI software may, for example, invoke a subprocess for
  case, one might compare all of the cost functions for the each call received or in the queue , to determine the then
  matters in the queue with respect to each permissible pairing optimum agent selection , for a local optimization , i.e., a
  of agentand matter. Instead of selecting an optimal agent for selection of the optimal agent without regard for the effect
  a given matter, the system selects an optimal pairing of 60 of this selection on other concurrent optimizations. In order
  respective multiple agents with multiple matters. In the case to globally optimize, the processing is preferably unitary .As
  of a call center, often the caller hold time is considered a conditions change , for example , further calls are added to
  basic criterion for selection. In order to weight this factor, for the queue , or calls are completed , the optimizations may be
  example , the cost function includes an allocation for caller recomputed .
  hold time, and possibly a non -linear function is applied . 65 For example , in a call center with 500 agents, each
   Thus , a caller may be taken out of order for paring with an classified with respect to 32 skills, with an average of 2000
  optimal agent. In some cases, the variance of a parameter is calls in the queue, with about 50 agents available or antici
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  pated to be available at any given time, the computational         still be required , but preferably these do not require essen
  complexity for each optimization is on the order of 160x106         tially non -deterministic systems to respond prior to resolu
  ( 2000x50x50x32 ) multiplies , generally of 8 bit length . A 2      tion .
  GHz Pentium 4 processor, for example , is capable of theo              Another aspect of the invention seeks to optimize long
   retical performance of about 2400 MFLOPS . Using a sim- 5 term call center operations, rather than immediate efficiency
  plified calculation, this means that less than about 10 % of per se . Thus, at various times, the system performs functions
  the raw capacity of this processor would be required , and which are different or even opposite the result expected to
  more powerful processors are being introduced regularly. achieve highest short term efficiency. Preferably , however,
  For example , a 3.06 GHz Pentium 4 processor with “hyper 10 during peak demand periods, the system assures high short
  threading' has recently been introduced. In fact, in real term efficiency by switching or adapting mode of operation .
  world situations, the processor would likely not be able to            Therefore , according to the present invention , a number of
  achieve its benchmark performance, but it is seen that a additional factors are applicable , or the same factors ana
   single modern processor can handle , in near real time, the lyzed in different ways, beyond those employed in existing
  required processing . Coprocessing systems are available 15 optimizations. Since most call centers are operational for
  which increased the processing capability , especially with extended periods of time, by analyzing and optimizing
  respect to independent tasks, while allowing all processes to significant cost factors beyond those contemplated by the
  be coordinated under a single operating system . For prior art, a more global optimization may be achieved .
  example , Microsoft Windows and Linux both support mul                 In a service environment, the goal is typically to satisfy
   tiprocessing environments , in case increased processing 20 the customer at lowest cost to the company. Often , this
  capacity is required . On the other hand , if a high level CRM      comes through making a reasonable offer of compromise
   system is interrupted to process each call event to globally quickly , which requires understanding the issues raised by
  reoptimize agent selection , and communicate this with the the customer. Delay leads to three costs : the direct and
  CTI software , a significant communication and transaction indirect operations cost ; the possibility of increased
  burden would be encountered . Thus, the present invention 25 demands by the customer (e.g., impaired business marginal
  proposes that the skill-based call routing algorithm be utility of the communication ); and the customer satisfaction
  executed in conjunction with the low level CTI process, as cost.
  an integral part of the call routing function . Likewise , other       In technical support operations, the agent must understand
  call-process related algorithms may be implemented , in 30 the           technical issues of the product or service . The agentmust
                                                                      also understand the psychology of the user, who may be
  addition to or instead of a call routing calculation.               frustrated , angry, apologetic , or even lonely. The agentmust
      Advantageously , for example in many non -adaptive sys often            remotely diagnose the problem , or understand the
  tems, no high level CRM system is required , and the entire information            provided by the caller, and communicate a
  skill -based routing functionality may be implemented in the
  CTI system , saving significant hardware expense and soft 35 solution         or resolution .
                                                                         In some instances, these seemingly abstract concepts are
  ware complexity . Thus, where the cost function is relatively represented
  simple to calculate , the skills required for the call and the server level.inForrelatively     basic termsat the communications
                                                                                          example , the cadence of a speaker may be
  skills of each respective agent well known and relatively available by a simple analysis of a voice channel for silence
  constant, a simple database may be provided for the CTI and word rate . Stress may also represented in a spectral
  platform to route calls intelligently.                           40 analysis of voice or in other known manner. Alcoholism or
      Another aspect of the invention provides optimization of other impairmentmay be detected by word slurring, which
  communications management based on adaptive param                   may also be detected by certain signature patterns in the
  eters , e.g., not only on the existing skills of the respective voice pattern .
  agents, but rather also based on an anticipated or predicted           It is noted that, in some instances , the skill related
  change in the agent's skills as a result of handling the call . 45 parameters are not independent. That is , there is a high cross
  Likewise, when considering an overall cost function for correlation or other relationship between the parameters . In
   optimizing call directing, any variety of factors may be other instances, there are non - linearities in the process. A
  considered within its context. Therefore, it an another object simple summing of magnitude times weight for these param
  to provide a consolidated cost function for communications eters may introduce errors. Therefore , a more complex
  management, wherein pertinent factors or parameters are or 50 algorithm may be employed , without departing from the
  may be expressed in common terms, allowing unified con spirit or scope of the present invention .
  sideration . According to a preferred embodiment of the               Likewise, for each caller profile class, a different optimi
   invention , this is handled at a low level within the commu zation may be employed . There are some traits , such as
  nications management system , although various aspects may alcoholism , which may alter the optimal selection of agent,
  be handled in real time or otherwise at various levels of the 55 all other thing being equal .
  communications management system .                                      Therefore , communications routing on seemingly sophis
      In the case of real time communications, such as tradi ticated or abstract concepts may be efficiently handled at a
  tional voice telephony, the switching must by definition low level without interrupting the basic call processing
  occur in real time, so must the resolution of the parties to the functions or requiring non -standard hardware. In this sense ,
   communication . Therefore, another aspect of the invention 60 ‘non -standard ' refers to a general purpose type computing
   involves communications and coordination in real time of           platform performing the communications routing functions.
   the various system components, including the low level In fact, efficiency is generally enhanced according to the
   system . Preferably , the data upon which an optimization is present invention by avoiding the need for remote commu
   based is available locally to the low level system before a nications of the call parameters and the resulting commu
   real time communication is received , so that external com- 65 nications and processing latencies . Of course, in certain
  munications to resolve the target are minimized . In some tightly coupled environments, the target resolution may be
  cases, communications with other system components will performed on a physically separate processor or system from
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   the low level call processing, without deviating from the            Often , live interaction is an important component of
  essential aspects of embodiments of the invention .                training . Therefore, a significant component of the training
     In many cases, the caller characteristics and issues will        encompasses interaction with callers in real-world situa
  often have a significant effect on the duration of the call . tions. Training often involves presenting agents with new
  While , in general, more skilled agents will have a higher 5 challenges and experiences in order to assure breadth of
  productivity, in some cases, the caller restricts throughput. exposure .
  Therefore , even though the agent is capable of completing         According to prior skill-based routing schemes, an agent
  the call quickly, the caller may cause inordinate delays. skill level is considered a static upper limit on capabilities ,
   According to the present invention , through a number of
  methods, the caller characteristics are determined or pre- 10 and     the ACD avoids distributing calls to agents below a
                                                                   threshold . Agents may be called upon to serve requests
  dicted , and an appropriate agent selected based on the within their          acknowledged skill set. Likewise, this allows a
  anticipated dynamic of the call . Thus , for example , if the simple and discrete     boundary condition to be respected in
  anticipated call duration for a successful outcome, based on the optimization according       to the present invention .
  the caller characteristics is a minimum of 5 minutes (de
  pending on the agent), then an agent who is likely to 15           On  the other hand , according to some embodiments of the
  complete the call in about 5 minutes may be selected as the present invention , each call is considered a potential training
  optimum ; agents who would be able to complete the call exercise, in order to expand the capabilities of the agent, and
  within 4 minutes, while technically more productive, may therefore the boundary is not concretely applied . Therefore ,
  have little impact on the actual call duration , and thus would to the extent that the nature of the call can be determined in
  be inefficiently employed . Likewise, an agent anticipated to 20 advance, the incentive according to this scheme is to route
  complete the call in 6 minutes might be deemed inefficient, the call to an agent who is barely capable of handling the
  depending on the availability of other agents and additional call, and to avoid routing only to the best available agents.
  criteria . The call may be selected as a training exercise. In This strategy has other implications. Because agents are
  this case, an agent is selected for training whom would be challenged continually, there is reduced incentive for an
  expected to operate with a certain degree of inefficiency to 25 agent to limit his skills to avoid the ' tougher ' assignments .
  complete the call. In some cases, unsupervised training is Further, a self -monitoring scheme may be implemented to
  instituted . In other cases, a training agent (or automated determine the status of an agent's skill with each call . For
  system ) is allowed to shadow the call, providing assistance, example, agent performance is typically determined on a
  instruction and /or monitoring of the trainee agent during the call- throughput basis, since call centers are managed on a
  call. In this case , it would be anticipated that the call 30 man -hour requirement basis and agents compensated on a
  duration would be greater than 5 minutes, due to the training per -hour basis. Therefore , based on a presumed agent skill
  nature of the call. Further, the required trainer assistance set and an estimation of the skills required for a given call ,
  further reduces immediate efficiency . However , as the agents a call duration may be predicted . The actual duration is then
  in the pool become more skilled , long term efficiency compared with the predicted duration , providing a perfor
  increases .                                                    35 mance metric for the agent.
     Preferably , these characteristics are extracted through an      This scheme also allows determination of the pertinent
  analysis, by the communications control system , of the            factors for call duration , both based on the information about
  available data , although where appropriate , reference to         the call or caller and the skill set of the agent. Thus , a variety
  higher level systems may be performed . Thus , in an inter         of low -level data may be collected about a volume of calls,
  active voice (or key ) response system , there may be suffi- 40 which may be statistically or otherwise analyzed to deter
  cient time and resources available to query a high level mine significant relations. For example , an artificial neural
  system for data or request analysis relating to a call . How        network or fuzzy -neuralnetwork may be implemented based
  ever, in many instances, significant analysis may be per on the data, which may then be automatically analyzed
  formed using the computing resources and information based on the independent criteria , e.g., call duration, cost
  available to the low level communication processing system . 45 function , or the like .
  Even where the information is not available , a DNIS or other         It is noted that, during peak demand periods, reduced
  type of lookup may provide this information based on a productivity due to training exercises is preferably mini
  relatively simple query.                                            mized . Thus , as demand increases, high skill set agents are
     More highly skilled agents are both worth more and preferably reassigned from training to most -efficient opera
  generally command higher compensation . A program which 50 tional status, while lower skill setagents are assigned to calls
  trains agents internally is either required, due to lack of well within their capabilities. Thus, during such peak
  specific external training programs, or is cost effective , since demand periods, the staffing requirement will generally be
  new hires can be compensated at a lower rate than trained no worse than traditional call centers . On the other hand ,
  and experienced hires . Thus, for long-term operations, there since training is integrated with operations, over a period of
  is an incentive to train agents internally , rather than seeking 55 time, the average skill of all agents will increase . Thus,more
  to hire trained agents . Therefore , according to another aspect skilled agents will be available at peak periods, reducing
  of the invention , such training, past present and /or future, is overall staffing requirements over a long term due to an
  monetized and employed in optimization of a cost function . expected decrease in average call duration and increase in
     Agents may receive additional compensation for training agent productivity.
  activities , either for their training activities, performance 60 According to this embodiment of the invention , it is less
  based compensation based on the improvement of their critical to perform the call routing resolution in the low level
  trainees, or both . Thus, there is an incentive for agents to      system , since the real timecriteria is not particularly limited
  become skilled and to assist in the training. As a result, the     by processing and communication latencies. On the other
  average skill level and uniformity in a call center will hand , corresponding skill routing functions may be per
  increase . However, since the optimal skill palette within a 65 formed by the communications processing system for both
  call center typically is a moving target, the training process outbound and inbound communications, thus permitting a
  will never cease .                                                  simplification of the external supporting systems.
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     An embodiment of the present invention provides an                 level communications processing system , without substan
  Internet Protocol based communications architecture , per tial loss of efficiency or throughput in that system , and with
  mitting geographically dispersed physical communications substantial gains in overall architectural efficiency .
  locations to act as a single coordinated entity . In order to        Often , a highly skilled agent will serve as mentor for the
  centrally manage a queue, the various pieces of information 5 trainee , and ‘shadow'the call . Thus, the routing of a callmay
  must be available for processing . As noted above , an inter depend on availability of both trainee and skilled instructor.
  active optimization may require a real time comparison of This dual-availability checking and pairing may be per
  all available agents. In this architecture , in cases of an ad hoc formed in the low level system .
  organization or peak demand periods, freelance agents may            Another aspect of call center efficiency impacted by this
  be called upon dynamically as required . Thus, if a peak 10 scheme is agent motivation . Because an agent with lower
  demand period is much shorter than an agent shift, off -site skill levels will be given assignments considered challeng
  freelance agents may be dynamically called upon , for ing, while more skilled agents given training assignments
  example through the Internet, ISDN , POTS, DSL , Cable                which may be considered desirable , there is an incentive for
  modem , or a VPN , to handle calls. In this case, the optimal         agents to progress , and likewise no incentive to avoid
  training of such off -site or freelance agents will generally 15 progressing . Thus , an agent will have no incentive to inten
  differ from those who are in - house agents. For example , if tionally or subliminally perform poorly to avoid future
  freelance agents are called upon only during peak demand difficult skill -based assignments . These factors may be
  periods, these agents will be trained specifically for the skills accommodated in a cost function calculation , for example
  in short supply during such periods , or for generic skills with an update of the agent vector after each call based on
  which are commonly required .                                     20 call characteristic vector, call outcome and duration , chrono
     In order to gage the skill set required of an agent for a call, logical parameters, and the like .
  a number of methods may be employed . Using a menu or                   In operation , the system works as follows. Prior to call
  hierarchal menu , a series of questions may be asked of setup , the nature of the call is predicted or its requirements
  callers in the queue to determine the identity of the caller and estimated, as well as the prospective issues to be encoun
  the nature of the call . Likewise, ANI/DNIS information , IP 25 tered . This may be performed in standard manner, for
  address or the like, or other communications channel iden            example in an inbound call based on the number dialed ,
  tifier may be employed to identify the calling telephone based on the ANI/DNIS of the caller (with possible database
  communications channel . This information may directly past history lookup ), selections made through automated
  indicate the characteristics or desired characteristics of the menus, voice messages, or other triage techniques . In the
  communication , or be used to call an external database 30 case of outbound calls, a database of past history, demo
  record associated with the identity of the caller or commu     graphic information (both particular to the callee and for the
  nications channel. While it is possible to associate such a region of the call ), and nature of the call may all be used to
  database closely with the low level communications pro         determine the projected agent skill set required for the call .
   cessing system , this is not generally done , since it may Alternately , only parameters available locally to the com
   impair the deterministic characteristics of the communica- 35 munications control system are employed , which , for
  tions processing system . Rather, if such information is example , may exclude a past history database lookup . Col
  required by the low level communications system for reso           laborative filtering may be used to assist in inferring a profile
   lution, and cannot be stored locally in a data table, it is of a remote user.
  preferred that it be available through a closely coupled, but         It is noted that, after initial call setup , the actual skill set
   independent system . As discussed above, it is preferred that 40 required may become apparent, and the callmay be rerouted
  a call entering the queue require no more than a single to another agent. For example, this may be performed at a
  database query and receipt of response prior to action , high level, thus permitting correction of errors or inappro
  although other non -time critical access may occur both priate selections made by the low level system .
  before and after action . The prior art , on the other hand ,         Once the predicted skill sets are determined , these are
  generally provides such information through independent 45 then compared against a database of available agents and
  and generally high level systems. High level systems are their respective skill sets . A weighting is applied based on
   generally characterized by general purpose interfaces, broad perceived importance of selection criteria , and the require
  range of functionality , and often a communications protocol ments correlated with the available agent skill sets.
  having a rich and complex grammar. On the other hand ,                When the call center is operating below peak capacity,
  tightly coupled systems can often forgo extensibility and 50 marginally acceptable agents may be selected to receive the
   interoperability in favor of efficiency.                          call, possibly with a highly acceptable agent available if
      In many instances, call centers are implemented to pro         necessary for transfer or handoff or to monitor the call.
   vide support for computer systems. It is known to provide a When the call center is operating near peak capacity , the
  message automatically generated by a computer to identify agents are assigned to minimize the anticipated man -hour
   and report the status of the computer at a given time, and 55 burden ( throughput) and /or wait time. Thus, peak through
  possibly the nature of a computer problem . One aspect of the put operation generally requires that agents operate within
   present invention allows this message to be associated with their proven skill sets, and that training be minimized .
  a direct semantic communication session with the user, for            Each call is associated with a skill expression that iden
   example to predefine the nature of the call and possibly the tifies the skills that are relevant to efficient handling of the
   skill set required to address the issues presented . Thus, for 60 call. As previously noted , the preferred embodiment is one
  example , a caller may be prompted to specify information of in which more than one relevant skill is identified , so that all
  particular relevance in the routing process, while not being of the factors that determine a ' best' agent for handling a call
  prompted for information irrelevant to the selection. For can be considered . This is expressed , for example, as a call
  example , if only one agent is available , the entire prompting characteristic vector. The relevant skills required may be
   process may be bypassed. If two agents are available, their 65 determined using different techniques.
   profiles may be analyzed , and only the most critical distinc        The skill expression of a call includes the required skills
  tions probed . This entire process may be handled in the low and skill levels for efficiently handling the call. In one
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  embodiment, the skills may be divided into two categories: and the potential targets, and routing the received call to the
  mandatory and optional skills . Mandatory skills are those optimum target, the determining step and the routing step
  skills that an agent must possess in order to handle the call , being performed by a common platform .
  even if the call remains in queue for an extended period of             A still further object of the invention provides a commu
  time. For example, language proficiency is often a manda- 5 nications control software system , comprising a multi
  tory skill for handling a call .Optional skills are those that are threaded operating system , providing support for applica
  considered in the selection of the appropriate agent, but not tions and for passing messages between concurrently
  critical. In operation ,these mandatory skills are expressed as executing applications, a communications control server
  a high relevance rating with respect to a call characteristic application executing under said multithreaded operating
  having a non - linear (e.g., binary or sigmoid ) characteristic . 10 system , for controlling real time communications, and at
   Therefore , in the absence of exceptional circumstances, least one dynamically linkable application , executing under
  other factors for qualified agents will determine resolution . said multithreaded operating system , communicating with
   Alternately, the mandatory skills may be specified as a said communications control server application to receive
  pre - filter, with optional skills and cost function expressed call characteristic data and transmit a resolved communica
  through linear- type equations.                                   15 tions target .
     It is noted that the peak/non -peak considerations may be            Another object of the invention provides a method of
  applied on a call -by -call basis . Thus, certain callersmay be determining an optimum communications target in real time,
  privileged to have a shorter anticipated wait and greater comprising receiving a communication having an indeter
  efficiency service than others . Thus, these callers may be minate target, selecting an optimum target, and establishing
  treated preferentially , without altering the essential aspects 20 a channel for the communication with the optimum target,
   of the invention .                                               wherein said selecting and establishing steps are performed
      The present invention may also generate a set of reports       on a consolidated platform .
  directed to management of the call center. Typically , the         It is a further object of the invention to provide a com
  communications server generates a call log , or a statistically munications processing system for directly establishing and
  processed log, for analysis by a higher level system , and 25 controlling communications channels , receiving information
  does not generate complete, formatted reports itself . The regarding characteristics of a preferred target of a commu
  quality of service reports are generated to indicate the nication , comparing the characteristics with a plurality of
  effectiveness of the call -management method and system . available targets using an optimizing algorithm , and estab
  An agent summary report is organized according to the lishing the communication with the target in dependence
  activities of particular individuals, i.e. agents. A skill sum- 30 thereon .
  mary report organizes the data by skill expressions, rather          It is another object of the invention to provide a method
   than by agents . This report may list the number of calls of selecting a call handling agent to handle a call , compris
  requiring selected skill expressions and the average time ing the steps of identifying at least one characteristic of a call
  spent on those calls. Other known report types are also to be handled ; determining a call center load , and routing the
  possible . An important report type is the improvement in call 35 call to an agent in dependence on the characteristic, call
  center efficiency over time, i.e., decreased wait time, center load , and agent characteristics .
  increased throughput, increased customer satisfaction , etc.       A further object of the invention provides a method
  Thus , each agent should demonstrate improved skills over optimizing an association of a communication with an agent
  time. Peak throughput should meet or exceed reasonable in a communications center, comprising the steps of deter
  expectations based on a statically skill-routed call center. 40 mining a characteristic of a communication ; accessing a skill
  Other metrics may also be evaluated . Such reports are profile of a set ofagents; cost-optimizing the matching of the
  typically not generated from low level communications communication with an agent based on the respective skill
  systems, and are considered an inventive feature .                 profile, and routing the call to a selected agentbased on said
     It is therefore an object of the invention to provide a cost-optimization with a common system with said optimiz
  communications control system comprising an input for 45 ing .
  receiving a call classification vector, a table of agent char         An object of the invention also includes providing a
  acteristic vectors , and a processor, for (a ) determining, with method for matching a communication with a communica
  respect to the received call classification , an optimum agent tion handler, comprising the steps of predicting a set of
  selection based on at least a correspondence of said call issues to be handled during the communication ; accessing a
  classification vector and said table of agent characteristic 50 profile record for each of a plurality of communications
  vectors, and (b ) controlling a call routing of the information handlers ; analyzing the profile records with respect to the
  representing said received call in dependence thereon. It is anticipated issues of the communication to determine a
  a further object of the invention to provide a system wherein minimal capability ; selecting an optimum communication
  the process maintains a table of skill weights with respect to handler; and controlling the communication , all controlled
  the call classification , and applies said weights to determine 55 within a common process .
  an optimum agent selection .                                          The foregoing has outlined some of the more pertinent
     Another object of the invention is to provide a commu objects of the present invention . These objects should be
  nications control system for handling real time communi construed to be merely illustrative of some of the more
  cations, wherein an integral system resolves a communica prominent features and applications of the invention . Many
  tions target based on an optimizing algorithm and 60 other beneficial results can be attained by applying the
  establishes a communications channel with the resolved disclosed invention in a different manner or modifying the
   communications target .                                         invention as will be described . Accordingly , other objects
      A further object of the invention provides a communica and a fuller understanding of the invention may be had by
   tions method comprising receiving a call, classifying the call referring to the following Detailed Description of the pre
   to determine characteristics thereof, receiving a table rep- 65 ferred embodiment.
   resenting characteristics of potential targets , determining an    The present invention improves efficiency, and facilitates
  optimum target based on the characteristics of both the call      use of communications resources which are special purpose ,
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  especially with respect to cost, specialization , and/ or skill     server. These parameters,which may vary over the course of
  set, within an automated process .                                  a single shift, may be used to adaptively tune the profile of
                                                                    the agent in real time. Typically, however, long term agent
        BRIEF DESCRIPTION OF THE DRAWINGS                           performance is managed at higher levels.
                                                                  5    FIG . 1 shows a flow chard of an incoming call routing
      For a more complete understanding of the present inven        algorithm according to a preferred embodiment of the pres
  tion and the advantages thereof, reference should bemade to ent invention . A call is placed by a caller to a call center 301.
  the following Detailed Description taken in connection with The call is directed , through the public switched telephone
  the accompanying drawings in which :                              network , although , calls or communications may also be
      FIGS. 1 and 2 are flow charts showing a skill routing 10 received through other channels, such as the Internet, private
  method according to the present invention ;                       branch exchange , intranet VOIP , etc. The source address of
     FIGS. 3 , 4 , 5 , and 6 show tables representing analysis of the call , for example the calling telephone number, IP
  5          with 10 skill scores                                   address, or other identifier, is received to identify the caller
      FIG . 7 shows a combinatorial analysis of agents versus 302. While the call is in the waiting queue , this identifier is
  callers with respect to the data of FIG . 5 ;                  15 then used to call up an associated database record 303 ,
     FIG . 8 shows a table representing analysis of 5 agents, 5 providing , for example, a prior history of interaction , a user
  rule vectors, and 10 skill scores ; and                           record , or the like . The call waiting queue may be managed
      FIG . 9 shows a combinatorial analysis of agents versus directly by the telephony server. In this case , since the caller
  callers with respect to the data of FIG . 8 .                     is waiting , variable latencies due to communications with a
                                                                 20 separate call management system would generally not inter
              DETAILED DESCRIPTION OF THE                           fere with call processing, and therefore may be tolerated . In
                 PREFERRED EMBODIMENTS                              other instances, an interactive voice response (IVR ) system
                                                                    may be employed to gather information from the caller
      The Detailed description of the invention is intended to during the wait period .
  describe relatively complete embodiments of the invention , 25 In some instances, there will be no associated record , or
  through disclosure of details and reference to the drawings . in others, the identification may be ambiguous or incorrect.
   The following detailed description sets forth numerous For example , a call from a PBX wherein an unambiguous
   specific details to provide a thorough understanding of the caller extension is not provided outside the network , a call
  invention . However, those of ordinary skill in the art will from a pay phone , or the like . Therefore , the identity of the
  appreciate that the invention may be practiced without these 30 caller is then confirmed using voice or promoted DTMF
  specific details . In other instances , well -known methods, codes, which may include an account number , transaction
  procedures, protocols , components, and circuits have not identifier, or the like, based on the single or ambiguous
  been completely described in detail so as not to obscure the records.
  invention . However, many such elements are described in             During the identity confirmation process, the caller is also
  the cited references which are incorporated herein by refer- 35 directed to provide certain details relating to the purpose of
  ence , or as are known in the art.                              the call. For example , the maybe directed to press one for
     For each agent, a profile is created based on manual sales , two for service , three for technical support, four for
  inputs, such as language proficiency , formal education and returns , and five for other ’. Each selected choice , for
  training, position , and the like, as well as automatically, example , could include a further menu , or an interactive
  based on actual performance metrics and analysis , and used 40 voice response , or an option to record information .
  to create a skills inventory table. This process is generally           The call-related information is then coded as a call
  performed in a high level system , such as a customer characteristic vector 304. This call characteristic is either
  relationsmanagement system or human resources manage                 generated within , or transmitted to , the communications
  ment system . A profile thus represents a synopsis of the server system .
  skills and characteristics that an agent possesses, although it 45 Each agent has a skill profile vector. This vector is
  may not exist in a human readable or human comprehensible developed based on various efficiency or productivity cri
  form .                                                               teria . For example, in a sales position , productivity may be
      Preferably , the profile includes a number of vectors rep        defined as sales volume or gross profits per call or per call
  resenting different attributes , which are preferably indepen minute , customer loyalty of past customers , or other appro
  dent,but need not be. The profile relates to both the level of 50 priate metrics . In a service call , efficiency may be defined in
  ability, i.e. expertise, in each skill vector, as well as the terms of minutes per call , customer loyalty after the call,
  performance of the agent, which may be a distinct criterion , customer satisfaction during the call, successful resolution
  with respect to that skill . In other words, an agent may be of the problem , or other metrics. These metrics may be
   quite knowledgeable with respect to a product line, but absolute values, or normalized for the agent population , or
  nevertheless relatively slow to service callers . The profile, or 55 both . The skill profile vector is stored in a table, and the
  an adjunct database file, may also include a level of pref profiles , which may be updated dynamically , of available or
  erence that call management has for the agent to handle soon to be available agents, are accessed from the table
  transactions that require particular skills versus transactions (database ) 305.
  that require other skills , or other extrinsic considerations.   Typically , the table 305 is provided or updated by a high
     This table or set of tables is communicated to the com- 60 level call centermanagementsystem to the communications
  munications server. Typically , the communications server server system as the staffing assignments change , for
  does not create or modify the agent skills table, with the example once or more per shift. Intra -shift management,
  possible exception of updating parameters based on imme such as scheduling breaks, may be performed at a low or
  diate performance. For example , parameters such as imme high level.
  diate past average call duration , spoken cadence , and other 65 The optimization entails analysis of various information ,
  statistical parameters of a call-in - progress or immediately which may include the caller characteristics, the call incident
   past concluded will be available to the communications             characterization , availability of agents , the agent profile( s),
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                                                      US 10,491,748 B1
                                37                                                                    38
  and /or various routing principles . According to the present be . Therefore , the trainer is a more important participant,
  invention , the necessary information is made directly avail and the initial principle in routing the training call is to
  able to the communications server, which performs an ensure that a trainer is available . The trainer may then await
  optimization to determine a 'best ' target , e.g., agent selec availability of an appropriate trainee , or if none is immi
  tion , for the caller.                                            5 nently available, handle the call himself or herself.
     For example , if peak instantaneous efficiency is desired ,         On the other hand , where a specific training campaign is
  for example when the call center is near capacity 306 , more in place, and a high utility associated with agent training ,
  advanced optimizations may be bypassed and a traditional then the availability of a specific trainee or class of trainees
  skill based call routing algorithm 307 implemented , which for a call having defined characteristics is particularly
  optimizes a short term cost-utility function of the call center 10 important. In that case , when an appropriate trainee is
  308. An agent who can optimally ' handle the call is then available , the call held in that agent's cue, and the call
  selected 309 , and the call routed to that agent 310. The possibly commenced , awaiting a training agent's availabil
  global ( e.g., call center ) factors may be accounted as a ity .
  separate set of parameters .                                            If the training is highly structured , it is also possible to
     Thus  , in order to  immediately   optimize the call routing , 15 assign  the trainer and trainee agents in pairs , so that the two
  the general principle is to route the call such that the sum of are always available for calls together.
  the utility functions of the calls be maximized while the cost          The system according top the present invention may also
  of handling those calls be minimized . Other types of opti           provide reinforcement for various training . Thus, if a subset
  mizations may , of course, be applied .                              of agents receive classroom training on a topic , the server
     According    to  one  optional  aspect of the invention , the  20 may target those agents with calls relating to that topic . For
  various routing principles discussed above explicitly value example , the topic may represent a parameter of a call
  training as a utility of handling a call 311, and thus a characterization vector. In order to target certain agents for
  long-term optimization is implemented 312. The utility of calls having particular characteristics, a negative co may
  caller satisfaction is also weighted , and thus the agent be applied , thus increasing the probability that the agentwill
  selected is generally minimally capable of handling the call. 25 be selected , as compared with an agent having a positive
   Thus, while the caller may be somewhat burdened by cost. By using a single cost function , rather than specific
  assignment to a trainee agent, the call center utility is override , the system becomes resilient, since this allocation
  maximized over the long term , and call center agents will is not treated as an exception , and therefore other parameters
   generally increase in skill rapidly.                           may be simultaneously evaluated . For example, if a caller
      In order for the communications server system to be able 30 must communicate in a foreign language , and the agent does
  to include these advanced factors, they must be expressed in not speak that foreign language, then the system would not
  a normalized format, such as a cost factor.                     target the call to that agent, even if other factors weigh in
     As for the cost side of the optimization , the cost of favor of such targeting.
  running a call center generally is dependent on required shift         The same techniques are available for outbound cam
   staffing , since other costs are  generally  constant . Accord- 35 paigns  and/or mixed call centers. In this case , the cost of
   ingly, a preferred type of training algorithm serves to mini training is more pronounced , since agents idle for inbound
  mize sub -locally optimal call routing during peak load tasks are generally assigned to outbound tasks, and thus the
  periods, and thus would be expected to have no worse cost allocation of trainer agents and trainee agents generally
  performance than traditional call centers . However, as the results in both longer call duration and double the number of
  call center load is reduced , the call routing algorithm routes 40 agents assigned per call. This cost may again be balanced by
  calls to trainee agents with respect to the call characteristics. avoiding training during peak utility outbound calling hours
    This poses two costs. First , since the trainee is less skilled and peak inbound calling hours ; however, training opportu
  than a fully trained agent , the utility of the call will be nities should not be avoided absolutely.
  reduced . Second , call center agent training generally                According to one embodiment of the invention , at the
  requires a trainer be available to monitor and coach the 45 conclusion of a call , the caller is prompted through an IVR
  trainee . While the trainermay be an active call center agent, to immediately assess the interaction , allowing a subjective
  and therefore part of the fixed overhead , there will be a scoring of the interaction by the caller without delay. This
  marginal cost since the trainer agent might be assuming information can then be used to update the stored profile
  other responsibilities instead of training . For example , parameters for both caller and agent, as well as to provide
  agents not consumed with inbound call handling may 50 feedback to the agent and /or trainer. Under some circum
  engage in outbound call campaigns .                                 stances , this may also allow immediate rectification of an
      It is clearly apparent that the communications server unsatisfactory result .
  system will have direct access to call center load data , both
   in terms of availability of agents and queue parameters.                                    Example 1
      Thus, in a training scheme, an optimization is performed , 55
  using as at least one factor the value of training an agentwith       Each agent is classified with respect to 10 skills, and each
  respect to that call 312 , and an appropriate trainee agent skill can have a weight of 0 to 127. The skill weights may
  selected 313 .                                                      be entered manually by a supervisor, developed adaptively ,
      In order to provide proper training , the trainer and trainee or provided by other means. These are sent as a parameter
  must both be available , and the call routed to both 314. 60 file to the communications server.
  Generally, the trainee has primary responsibility for the call ,       A rule vector specifies a normalized contribution of each
  and the trainer has no direct communication with the caller. skill to apply to the total. This rule vector, for example ,
   Therefore , the trainermay join the call after commencement, represents the call characteristic vector. Thus, attributes of
  or leave before closing . However, routing a call which the call and the status of the system are analyzed to generate
  requires two agents to be simultaneously available poses 65 this rule vector . There can be more than one rule vector
  some difficulties. In general , the trainer is an agent capable defined in a project (split), or a rule can be setup in a per call
  of handling the entire call alone, while the trainee may not basis. Generally , routing with predefined rules is much more
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                                                        US 10,491,748 B1
                                 39                                                                 40
   efficient than routing with rules in a per call bases. When a            As can be seen in FIGS. 8 and 9 , the maximum value is
  call needs to be routed to an agent, the rule vector is applied        314.78 , which corresponds to a selection of:
  to the skills of the available agents and a score is derived for  Agent 1/Call 5 ; Agent 2/Call 1; Agent 3 /Call 4 ; Agent
  each agent. The agentwith the highest score is assigned the 5 4 /Call 2 ; and Agent 5 /Call 3.
  call .                                                                    Therefore , it is seen that the optimum agent/caller selec
                                                                         tion is sensitive to these cost factors .
      As shown in FIG . 3, Agent 1 would be selected , since this
   is the highest score .                                                  It is also seen that, while the analysis can become quite
      In this example , it is presumed that all selections have the      complex , the formulae may be limited to evaluation of
   same cost, and therefore the utility only varies. Thus, the           simple arithmetic functions, principally addition and multi
   agentwith the highest utility function is the optimal selec- 10 plication
                                                                   tions may, with
                                                                                be few divisions
                                                                                   executed       requiredin. Thus
                                                                                             efficiently          , these calcula
                                                                                                               a general  purpose
   tion .
                                                                          computing environment.
                             Example 2                                       From the above description and drawings, it will be
                                                                          understood by those of ordinary skill in the art that the
      The conditions below are the same as in Example 1 , 15 particular               embodiments shown and described are for pur
  except two new factors are provided , Acl and Ac2 . The scope of the inventiononly
                                                                          poses  of  illustration      and are not intended to limit the
  Preliminary Score is calculated as the sum of the products of recognize that the invention ofmay. Those    ordinary skill in the art will
  the Rule Vector and the Agent Vector. The Final Score is specific forms without departing frombe itsembodied         spirit or
                                                                                                                                 in other
                                                                                                                                 essential
   calculated as (Aclxsum ) + Ac2 .
     In this case, Acl represents an agent-skill weighting cost 20 ments  characteristics. References to details of particular embodi
                                                                                  are not intended to limit the scope of the claims.
   function , while Ac2 represents an agent cost function . Since
  we select the maximum value , more expensive agents have                                           Example 6
   correspondingly lower cost values.
     As can be seen , in FIG . 4 , Agent 5 is now optimum . 25 Geographic information may be used as a basis for
                                                                          communications routing . Mobile phones are or will be
                              Example 3                                   capable of geolocation , meaning that the location of the
                                                                          handset may be automatically determined in real time and
     In this example , a limiting criterion is imposed , that is , communicated . Likewise , a location of landlines can typi
  only agents with a skill score within a bound are eligible for 30 cally be determined . There are a number of instances where
  selection . While this may be implemented in a number of this information may then advantageously be used to route
  ways , possibly the simplest is to define the range, which will calls . For example , a call to a national pizza delivery chain
  typically be a lower skill limit only, below which an agent toll free number or central facility may be automatically
  is excluded from selection , as a preliminary test for ‘ avail routed to a geographically proximate local franchisee , or, if
  ability '.                                                           35 a number are available, to one of a qualified group . It is
     As shown in FIG . 5 , the screening criteria may be lower, noted that while the communications are preferably voice
  upper or range limits. In this case, the screening process communications, other type of communications may be
  excludes agents 2 , 3, and 5, leaving agents 1 and 4 available . supported .
  Ofthese two choices, agent 1 has the higher score and would                However, it is also possible to perform evaluation ofmore
  be targeted .                                                        40 complex algorithms in order to determine a set of commu
                                                                          nications partners. For example , a geographic factor, a past
                              Example 4                                   history, and/or user profile may be available to describe the
                                                                          caller. This information may provide, for example, pre
     In this example , the optimization seeks to optimize the ferred language, a contact report (identifying likely issues),
  placement of 5 incoming calls to 5 agents . As shown, each 45 demographic information , and user personality (as deter
  caller is represented by a different call vector, and each agent mined from a prior communication ). Likewise , an interac
  by a distinct skill vector. The optimization therefore seeks tive voice or keypad response system can glean further
  the maximum utility from the respective possible pairings . information to determine the issues involved in the call .
     Using a combinatorial analysis , the maximum value is Using this information , a vectormay be provided describing
  62.42 , which represents the selection of agent 1/caller 1; 50 the caller and the likely issues of the call, which may then
  agent 2/caller 5 ; agent 3 /caller 4 ; agent 4 , caller 2 ; and agent be used to optimize a targeting of the call to available
  5 , caller 3. See FIGS. 6 and 7 .                                      recipients . The maintenance of vectors to describe available
                                                                         call targets is described above .
                             Example 5                                 In cases where multiple recipients are available and have ,
                                                                      55 within a reasonable range, equivalent or super- threshold
     Similarly to Example 4 , it is also possible to include an qualifications or suitability to receive the call, it may be
  agent cost analysis, to provide an optimum cost -utility appropriate for the potential recipients to compete for the
  function . As in Example 2, the cost factors ( CF ) are recip     call . That is, the optimization of targeting (e.g., pairing of a
  rocal, since we select the largest value as the optimum . caller and callee ) includes an economic component, option
  Likewise, time factors ( TF ) are also reciprocal, since we 60 ally with a non - economic component. For example , the
  seek to minimize the time spent per call . In this case, the cost potential recipients each submit a bid for the call , with the
  analysis employs three additional parameters: the agent cost, call being routed to the auction winner (which may be a
  a value representing the cost of the agent per unit time; a payment to or from the recipient, depending on the circum
  value representing an anticipated duration of the call based stances of the auction ) at, for example, a first or second
  on the characteristics of the caller; and a value representing 65 price , according to the auction rules.
  the anticipated duration of the call based on characteristics        In a typical case , the routing server has a direct and
  of the agent.                                                     prearranged financial arrangementwith the bidders, and the
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                               41                                                              42
  auction process does not directly involve the caller. On the          An automated chat system may also be used for dating
  other hand , other cases allow the caller to be involved in the services, adult theme entertainment, business services, con
  auction as a “buyer' or ‘ seller ', with the communications sumer services, or the like. In these systems, the communi
  router serving only in the capacity of auctioneer, and not a cations router typically taxes some of the economic surplus
  principal to the auction .                                      5 generated by the system , in a real economic form , while
      In cases where the potential recipients do not all have benefiting the various classes of user.
  equivalent qualifications , a normalization function may be         It is noted that the auction may involve transfer of real
  applied to correct the bids. For example , a potential recipient economic benefits, or a synthetic economy constructed
  with a 60 % match with the required qualification profile within a closed system . For example , micropayment tech
  might have to bid 50 % more than a potential recipientwith 10 nologies may be employed to authorize and convey the
  a 90 % match , assuming that the matching function linearly value between entities, even through an open network ,
  corresponds with an economic factor; otherwise , a non without having to trust all entities within the chain of
   linear normalization may be applied . This is equivalent to custody .
  providing that the value applied to determine the auction           The bidding may be a volitional real time event, allowing
  winner includes a component representing an economic 15 those involved to make decisions on the spot; but more
  value and a component representing a non -economic value, typically , a bidder will define a personal value function ,
  e.g., a match or optimality score for the call , which is which is then used in an automated auction process . The
  determined for each bidder to determine the winner. The bidder will therefore provide an indirect control over the
  bidder in this case may either have knowledge of the match bidding on his or her behalf , for example using feedback to
  score , or may bid blind .                                  20 tune the attributed value function to a desired value. In
     In a commission based system , for example , an agentwith action types where broadcast of a true value is a dominant
  a higher sales average performance might have to bid a strategy, the function itself may be presented as a bid
  lower amount than an agent with lower performance , the (assuming that the auctioneer has sufficient information to
  difference being an amount which tends to equalize (but not evaluate the function ), otherwise , it may be evaluated under
  necessarily completely equalize) the anticipated payoff from 25 the circumstances and a normalized value transmitted . The
  the call, thus incentivizing higher sales performance . In any auctioneer is, in this case , the communications arbitrator or
  case, the communications router (or a separate system which switch . In a successive price auction , the value function
  communicates with the communications router in some itself is preserved , although the dropout pattern may be
  embodiments) evaluates the bids including both economic noted , allowing an estimation of the value function of
   and non -economic components , determines the winning 30 competitors .
  bidder , and determines the communications path (s ).                  It should be clear that there are many possible scenarios
     In another embodiment, a group of agents within a call which allow callers and/or potential recipients to compete
  center have performance goals for a shift , with possible for a connection , and therefore a large variety of auction
  gradation between agents of the goals based on compensa             types may be implemented accordingly .
  tion , seniority , etc. The agents are within a queue , in which 35 The present system differs from a known telecommuni
  the default is a sequential selection of available agents . cations auction in that, for example, it is sensitive to user
  However, an agent may seek to take a break , and therefore characteristics, and does not treat each communications line
  bids for a lower position within the queue. Likewise, an as a simple commodity.
  agentmay find him or herself behind in performance, and
  wish to bid for higher placement within the queue . As 40                                     Example 7
  discussed above , the bid cost or perturbation effectmay be
  normalized based on a variety of factors and schemes ,                 The system and method according to the present invention
  including the optimality of matching. In this scheme, the is not limited to voice communications, or even human -to
  auction may be economic or non -economic . In a non human communications . Rather, it permits a cost-benefit
  economic scheme, each agent is provided with a set of bid 45 optimization in various communications environments
  units, for example 100 per shift. The bid units may then be where predetermined ( i.e., before the communication is
  applied to advance within the queue , or even traded with established ) characteristics of a both a source and a desti
  another agent (although this possibility leaves open the issue nation make arbitrary targeting or association inefficient.
  of undesired indirect real economic effects, since the trade The present invention therefore exploits this available infor
  may involve extrinsic value ).                                   50 mation to optimize a cost-benefit or cost-effectiveness of the
     Another possibility is the ad hoc formation of chat groups. association , as compared to the cost-benefit or cost-effec
  In this case , the composition of the group is optimized based tiveness of competing allocations.
  on the respective profile vectors of the members. In some             For example , a proxy server or load balancing server may
  cases , the ideal or optimum is minimum variance of the            seek to formulate communications based on a set of rules or
   vectors, but in other cases optimality may require comple- 55 correspondence between parameters . These communica
  mentary components . Assuming multiple chat groups and tions can be human -to -human, human -to-machine ,machine
  multiple callers, there may be a market economy for match       to -human , machine - to -machine, or multiparty (e.g., > 2 par
  ing a caller with a group . In such a scenario , a VCG type ties ) communications. In one example, a “ dating ” or
  auction may be conducted , with the composition of each " contact” site is established which permits communications,
  group allocated based on an optimization ofbid values. An 60 which may remain anonymous, allowing an inferential tar
   example of this is a sports chat line . A number of fans and geting of a communication based on a “ best fit ”, “ optimal
  sports celebrities contact a call center and are identified and fit” , “ cost efficient" , or other criteria . The communications
  a profile applied . Using market principles, the groups are may involve selection of a best target, best available target,
   formed to maximize the utility aggregate functions. Thus, a best target with compensation for anticipated availability ,
  group of “high rollers 'may gain the benefit of a superstar, 65 optimal target, most cost effective target, or other criteria .
  while neophytes may only communicate with a rookie , with On the other hand , wheremultiple communications are to be
  the set of groups optimized to achieve maximum utility.         simultaneously considered , the desired result may not be the
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                                                      US 10,491,748 B1
                                   43                                                                  44
  optimal target for each source , but rather the highest effi ignored . Indeed , in some cases, the value is non -parametric ,
  ciency or cost-effectiveness on a community basis . Where and incapable of a null attribute .
  more than two parties are included in a communication , a         In a cost-effectiveness optimization , the benefit or result
  combinatorial optimization , such as a Vickrey - Clarke must be expressed in dimensionless ( cost) terms, using a net
  Groves (VCG ) optimization may take place, using auto- 5 valuation function . Typically, the initial data will not be
  mated approximations of value functions or permitting a expressed as cost, and indeed may be subject to a dynamic
  “ bidding” by each participant of either its price or payment, translation or market exchange rate . When there are a
  depending on whether it anticipates a gain or loss as a result plurality of attributes , each must be evaluated for its con
  of involvement. If only two parties are involved, a bidding tribution to the cost function . The net value, under the
  may still occur, and thus a VCG auction may be imple 10 conditions of evaluation , is then compared with other valu
  mented in all cases, even if the result is somewhat trivialized      ations, typically under those same conditions of evaluation ,
  in certain cases. It is noted that, while an economic or cost        though in some cases , slightly different conditions may
  optimization may be used as an underlying theory for apply to each evaluation because ofpassage of time or other
   linking communications, it is not necessary in all cases to 15 factors . The set of allocations which maximizes the net value
  employ currency, or an exchange of currency, as a basis for to the community is the one which represents the cost
   implementing the result. It is therefore understood that the benefit optimum .
  present invention is not limited in the type of the valuation          Thus, another aspect of the present invention provides
  criteria , or indeed the nature of the characteristics to be comparison of vectors which change over time, and which
  evaluated . Rather, an aspect of this embodiment of the 20 are subject to different base times and/or different predicted
  invention is that there is at least one non - economic param        change over time. The vectors are corrected by predicting a
  eter which must be normalized with other parameters which state at a relevant time, using at least one of a tendency of
  may require the same or different normalization (e.g. , into        the vector to change , or a population statistic which predicts
  dimensionless or “ economic ” fungible quantity ) in order to changes given an initial state , or a combination of both
  control the communications.                                      25 techniques. Likewise , there may be a blend between popu
      Preferably , this determination is performed as an integral lation basis and individualbasis as information regarding the
  function of the router, that is , the routing function is defined individual element which is described by the vector and
  by the predetermined information available about the source information about the population accumulates. Note that, as
  and available targets , rather than by explicit addresses. 30 with  information about the individual accumulates, its association
  While ultimately, the communication may be defined by population         a subpopulation may increase or decrease, and thus the
  explicit addresses or identifications, use of descriptive infor                 basis need not be considered a static benchmark .
  mation or implicit targeting information earlier in the pro limited   In another example , a system is provided which allocates
  cess permitsmore intelligent and flexible decisions, and thus logisticalresources     , such as cache memory, persistent storage ,
  allows the system to produce acceptable or more optimal 35 respective resource, andhasbandwidth
                                                                                support
                                                                                                 an
                                                                                                            to a set of ' users '. Each
                                                                                                     associated cost , which may be
  results in a broader range of circumstances.
      In determining the pairing (or in some cases, associating static       or dynamic in nature. In a particular circumstance
  of larger groups ), it is preferred that each communicating encompassed            by the present invention , the grouping of the
  unit have a characteristic vector, providing sufficient infor resources        is not independent, and thus the system cannot
  mation regarding the value, cost or price of the communi simply allocate each type of resource independently . Rather,
  cation , and the benefit or requirements of the communica- 40 the       resources are allocated in blocks or units , each having a
   tion . Typically, the benefit or requirements will not be a setLikewiseof resources of the various types.
  single parameter, butrather will represent a multi-parametric teristics of ,various
                                                                                    each user has a set of requirements or charac
  matrix ( i.e., vector ). Even if the benefit or requirements is function . For exampletypes     , and a cost, value or satisfaction
                                                                                             , a given user requires various portions
   expressed in a single parameter , typically there will be a
  statistical error associated with that parameter itself, thus 45 of the types of limited resources. Typically, the aggregate
  yielding a potentially complex analysis of seemingly simple demand (at zero cost) for the resources will exceed the
                                                                 supply, thus making them ‘ limited '. In some cases, espe
  data, such as a data set represented by a single descriptor. cially
  Expressed mathematically, the input vector A may be inter additional  where resources have an incremental cost or utility ,
  preted as the vector B for targeting                                      resources or types of blocks or units may be
                                                              50 recruited or retired in dependence on the ‘market value.
                                                                    The user may itself be an automated system , and indeed
               0 0 0                                                   may also have resources allocated on a cost -efficient basis.
         A =   0   1   0                                                 Returning now to a discussion of the targeting vector, this
               0   0 0                                                 vector is defined in advance of the communication or portion
                                                                    55 of a sub -communication , and is therefore intended to be
                                                                       predictive of the cost and benefits of the resulting commu
                                                                       nication . Since this prediction may be inaccurate, or simple
                                                                       subject to probabilistic expression , in some cases the asso
               +0.10       +0.05   +0.10                               ciation of the source and destination will be dependent on
         B =   +0.01 1.00 +0.20 +0.05                               60 not only the mean value of a characteristic , but also its
               +0.15       +0.20   +0.20                               probabilistic expression or distribution . Therefore, even in
                                                                       cases where the mean values permit an efficient match , the
                                                                  probability of an actual mismatch , and the associated costs
     The meaning of these vectors is that vector A is sparsely if this were to occur, should also be considered , in formu
  populated , with only A2,2 having a non -zero value. On the 65 lating the optimum outcome. Expressed mathematically , let
  other hand, in the vector B , each value is associated with its us assume that the outcome of a transaction is expressed as
   own probability distribution , and cannot necessarily be            a binary satisfaction value .
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                                45                                                                  46
     If there is a 90 % chance of satisfaction with cost 1 , and       be multiply classified . In general, classifications are made
  a 10 % chance of satisfaction with cost 20 with one possible statistically or probabilistically.
  pairing , the net cost is 2.9 . If, in another possible pairing ,       For example, 100 email communicationsmay be received
  there is a 95 % chance of satisfaction with cost 2 , and a 5 % by a single email account for processing . A set of rules may
  chance of satisfaction with cost 15 , the net cost is 2.65 . Thus, 5 permit definitive processing of, e.g., 50 % of the communi
   in this simple example, the later has the lower anticipated cations , such as white lists, black lists, banned words/
  cost, even though in many cases, the actual cost of the first phrases , spam signatures, authentication technologies, etc.
  allocation will be lower . It is therefore useful to understand      On the other hand , the remaining 50 % of the communica
  and correctly model these types of statistical processes, since tions require an “ intelligent” classification . For example,
  they can .affect outcome, and lead to paradoxical losses in 10 while most people consider emails that include the words
  efficiency
      When the satisfaction function and/ or valuation function        “ mortgage ”, “ cialis ” or “ teens” to be spam , there are per
  are continuous functions, the result is analogous , but the clues, roles
                                                                       sons        or contexts in which such words are not definitive
  evaluation somewhatmore complex . Likewise , the satisfac words may lead to errors; .likewise
                                                                             as to appropriateness     Therefore, simply banning these
                                                                                                              , relying on the presence
  tion functions may be interdependent and in the case of 15
  human users, typically subjective . However, to the extent it of these words to effectively filter will also lead to errors,
  can be modeled , it is subject to a cost optimization .              since typographic illusions are often used to convey the
      It is generally a premise of this type of optimization that meaning        withoutusing the literal string as a cue. An internist
  perfection or complete satisfaction is neither obtainable or may indeed receive a number of desired communications
   even desired . Thus, this type of optimization generally 20 which discuss drugs. A home buyer may need a mortgage , or
  provides little benefit where resources are essentially unlim have solicited communications from a mortgage broker. A
  ited or independently allocated . Likewise, where all requests high school student may regularly have communications
  or targets are symmetric , or modeled as being so , gains will       which include the word “ teens” . Therefore, the role and /or
  also be limited . The present invention therefore exploits           context of the user is a relevant factor.
  information relating to the differences between association 25 The classifications themselves may be predetermined or
  of partners or groups, in conjunction with evaluable cost           variant or adaptive in class definition and number. After
  benefit functions, to generate an optimum allocation .              classification, these may be aggregated , or remain separate.
                                                                         Instead of requiring a resolution of the targeting/ classifi
                               Example 8                              cation problem for each email , instead , an algorithm may be
                                                                   30 provided to operate on a group of communications, with the
     The present invention may be used to target communica            result being a best classification as a competitive process
  tions of various types , wherein the targeting information is between the communications and the targets. That is , the
  inferential and context-dependent, and therefore the actual typicalproblem with spam is not that a communication itself
  recipient of the communication may remain indeterminate is malicious ( though this is also a potential problem ), but
  until the time for resolution . Therefore , the targeting infor- 35 rather that the numerosity of the communications is over
  mation need not be a correspondence of “ skills ” and “ likely whelming. Therefore, the process proposed by the present
  subject” . Rather , the method would provide utility for invention permits limited leakage of communications , at a
  resolving various ambiguities or indeterminateness.                 manageable number. The steps taken by the user after receipt
     One example is email , fax , instant messaging , or other of the communications may also be used to provide feed
  correspondence to a generic address, which must then be 40 back to the classifier , and therefore such feedback typically
  handled by a selected person or agent. While availability of requires acquisition of data relating to marginal objects . For
  a target is generally an issue, in non -interactive voice example, if a user processes are part of a normal workflow
  communications, real time availability need notbe a critical all of the objects passed , this leads to an inferred relaxation
  concern .                                                           of a restriction , since no object which is treated as irrelevant
     One characteristic of the invention is that an optimization , 45 has passed ; if there is a strong correlation , e.g., r > 0.95
  often of an NP -complete type, is required to determine the between the treatment of an object by the user and the
  best allocation with respect to a “ cost function ” , and the treatment predicted based on the analyzed characteristics of
  optimum condition cannot reasonably be determined by a the object , then the restrictions can be tightened in accor
  single mathematical function involving the input data .             dance with the analyzed characteristics .
     In many communications environments, including voice , 50 In other cases , the purpose of the system is not to
  email , instant messaging , fax , etc. , a particular problem implement an exclusionary filter , but rather to triage the
   involves unsolicited communications, which may be simply objects according to a predicted classification . Each classi
  time consuming (e.g., " spam ” ), or possibly malicious ( e.g., fication may be assigned a separate queue, which in a large
  “ virus” , “ phishing” , etc.). Various methods are available to organization may each be managed and handled by separate
  score communications for their likely characteristics. How- 55 agents . Thus, a " content vector” describing the object , and a
  ever, such undesired communications are variant, and tend " skill vector” describing the available targets , may be
  to evolve , and may be quite similar to desirable communi employed , optionally along with an “ availability vector ”
  cations. For even a single recipient, a set ofroles or contexts relating, for example , to queue length and a “ cost vector”
  may be defined . If incoming communications are classified relating to comparative costs and /or benefits . The various
  according     to a correspondence to these roles or contexts , 60 vectors are used in a multifactorial optimization, which in
  possibly with an adaptive bias. Instead of simply scoring the the case of queued objects , may reallocate objects previously
  communication to make a binary " undesired ” /“ desired ” queued to a “ better ” position . While the optimization may be
  decision , the classifier seeks a best fit , in a competitive performed incrementally for each object, in fact a batch
  environment. A number of different biases may be applied . implementation may be useful where response times are
  For example, a predetermined proportion, number or limit of 65 slow . For example , if the normal latency for dealing with an
  distribution may be estimated in advance . In most cases , a object is 1 hour, optimizations every 15-30 minutes would
  classification is exclusive , though communicationsmay also         be reasonable .
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     Where a plurality of vectors relating to different and             estimate an expected economic value to be obtained by
  " orthogonal" attributes are employed , it is quite useful to           associating each respective communication with each
  perform a cost optimization , wherein the optimization out               respective available resource, dependent on at least the
  come is based on a normalized metric , such as currency . As             score and a respective communication -content depen
  is known, a cost function need not be normalized in a 5                 dent value function of an outcome of a respective
  financial sense , but the various alternates should all be               communication associated with a respective available
  comparable .                                                            resource ; and
     In some instances, the actual cost may be compared with            assign each of the plurality of respective communications
  a predicted cost , and the difference (error) used to tune the           to one of the plurality ofresources based on at least the
  cost prediction algorithm for improved future performance . 10           estimated expected economic value to be obtained by
  In other cases, the ultimate cost may have little to do with             associating   each respective communication with each
  the prediction or the information available at the time of               respective   resource .
  prediction , and therefore this tuning process may be ineffi          2.  The  system  according  to claim 1, wherein the expected
  cient or counterproductive.
     Likewise, the actual processing of the objects may be used 15 from
                                                                     economic     value   comprises  an expected revenue resulting
                                                                             assigning each respective communication with each
  to provide data for the future allocation of resources ; that is , respective   available resource.
  if the available resources lead to a predicted higher overall         3. The system according to claim 1, wherein the expected
  cost than an alternate resource allocation , steps can be taken
  to change the allocation in the future. Preferably , the cost economic value comprises an expected profit from assigning
   function is audited , and long- term performancemonitored to 20 each respective communication with each respective avail
  ensure that the system does not oscillate or exhibit highly able resource .
  chaotic behavior independent of the objects received , and is        4. The system according to claim 1, wherein the expected
  stable. Likewise , in some cases, it is also important to economic value comprises at least one of a cost-benefit and
  analyze the characteristics ofobjects over time to ensure that a cost- effectiveness of an association of a respective com
  the system itself does not cause undesired changes in the 25 munication .
  objects. For example, if objects having certain characteris          5. The system according to claim 1 , wherein the avail
  tics are treated more favorably than others , the objects ability state is selectively dependent on an estimated wait
  themselves may evolve to display those more -favorably time before a respective communication is associated with a
  treated characteristics, without actually changing the under respective available resource .
   lying nature of the process actually required to deal with the 30 6. The system according to claim 1, wherein the plurality
  object. This may lead to unfair discrimination , increasing of communications each comprise a bidirectional telephone
  costs , and system instability .                                   communication .
      It is therefore seen that the present invention provides a       7. The system according to claim 1 , wherein the plurality
  system and method for optimally targeting ormatching a set of resources each comprise a respective call center agent.
  of communications in a system . This system and method is 35 8. The system according to claim 1 , wherein the estimated
  not limited to voice and email communications , and may economic value to be obtained by associating each respec
  encompass a broad range of elements to be matched .               tive communication with each respective available resource
      The present invention is useful for routing of communi is determined based on a testing of each possible set of
  cations in general, and for optimizing call centers as a concurrent association of respective communications with
  particular example of this process. The invention may also 40 respective available resources , consistent with the limited
  be used to optimize handling of Internet communications capacity for association with communications of each
  within an infrastructure where communications may be respective available resource.
  handled by a plurality of servers , some having different               9. The system according to claim 1 , wherein the associa
  characteristics from other.                                          tion of respective communications to respective available
      It should be appreciated by those skilled in the art that the 45 resources results in a persistent change in the expected
  specific embodiments disclosed above may be readily uti economic value of a future association of the respective
   lized as a basis for modifying or designing other structures communications to the respective available resources.
   for carrying out the same purposes of the present invention .           10. The system according to claim 9 , wherein the assign
   It should also be realized by those skilled in the art that such ment of each of the plurality of respective communications
  equivalent constructions do not depart from the spirit and 50 to one of the plurality of resources is further based on at least
  scope of the invention as set forth in the appended claims. one ofa predicted oscillation and a predicted chaotic behav
      What is claimed is :                                             ior of the expected economic value of a future association of
       1. A system for assigning communications, comprising a the respective communications with a respective available
  processor and a memory, configured to associate respective resources .
   communications with respective resources, wherein the 55 11. A method for assigning communications, comprising:
  memory has stored therein instructions that, when executed              receiving a plurality of respective communications for
  by the processor, cause the processor to :                                 association with a respective resource selected from a
      receive a plurality of respective communications;                      plurality of resources ;
      identify a plurality of resources available for association         identifying a plurality of resources available for associa
         with a respective communication and capable of han- 60              tion with a respective communication and capable of
         dling the respective communication , each available                 handling the respective communication , each available
         resource having a limited quantitative capacity for                 resource having a limited quantitative capacity for
         association with multiple communications, and an                    association with multiple communications and an
          availability state ;                                               availability state ;
      calculate a respective score associated with each available 65 calculating a respective score associated with each avail
          resource dependent on the availability state of a respec           able resource dependent on the availability state of a
          tive available resource;                                           respective available resource ;
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     estimating an expected economic value to be obtained by         at least one of a predicted oscillation and a predicted chaotic
       associating each respective communication with each           behavior of the expected economic value of a future asso
       respective available resource , dependent on at least the     ciation of the respective communications with a respective
       score and a respective communication -content depen           available resource .
       dent value function of an outcome of a respective 5 19. A method for controlling communications routing ,
       communication associated with a respective available comprising:
       resource ; and
     assigning each of the plurality of respective communica            receiving information a representing a plurality of com
        tions to one of the plurality of resources based on at           munications, a plurality of the communications being
        least the estimated expected economic value to be 10             concurrently queued for routing, each respective com
        obtained by associating each respective communication            munication involving a respective task dependent on
        with each respective resource .                                   the communication ;
      12. The method according to claim 11 , wherein the              identifying a plurality of communication targets available
  expected economic value comprises at least one of an                   or imminently available for handling a respective com
  expected revenue resulting from association of the respec- 15          munication of the plurality of communications and
  tive communication , an expected profit resulting from asso            capable of performing the respective task dependent on
  ciation of the respective communication , an expected cost             the communication , the respective communication tar
  benefit resulting from association of the respective                    gets having a limited quantitative capacity for handling
  communication , and an expected cost -effectiveness result             multiple respective tasks ;
  ing from association of the respective communication .         20
                                                                      determining a latency for each of the plurality of com
      13. The method according to claim 11 , wherein the                 munication targets with respect to a respective task to
  availability state score is selectively dependent on an esti           be handled ;
  mated wait time before a respective communication is                estimating    an economic value for routing each respective
  associated with a respective available resource .                       communication      to a respective one of a plurality of
      14. The method according to claim 11 , wherein the 25
  plurality of communications each comprise a bidirectional               alternate communication targets , dependent on at least
  telephone communication .                                              the latency, a consumption of the limited capacity for
      15. The method according to claim 11, wherein the                   handling respective tasks , and a communication -con
  plurality ofresources each comprise a respective call center            tent dependentbenefit expected to result as an outcome
  agent.                                                         30       from handling the respective task ;
      16. The method according to claim 11, wherein the                selecting an optimal routing of each of the plurality of
   estimated economic value to be obtained by associating each            communications to a respective alternate communica
  respective communication with each respective available                tion target dependent on at least a comparison of the
  resource is determined based on a testing of each possible set          estimated economic value for each possible routing of
  of concurrent associations of respective communications 35              each respective communication to the plurality of alter
  with respective available resources, consistent with the               nate communication targets ; and
   limited capacity for association with communications of            communicating the optimal routing to a communication
  each respective available resource .                                   routing device .
      17. The method according to claim 11, wherein associat
   ing of respective communications to respective available 40 estimatedTheeconomic
                                                                      20.        method according to claim 19 , wherein the
                                                                                            value is determined based on a combi
  resources results in a persistent change in the expected natorial
  economic value of a future association of the respective persistent change in theis expected
                                                                             analysis  , and    adaptive with respect to a predicted
                                                                                                         economic value of a future
  communications to respective available resource .                 routing   of  at  least  one  respective  communication to a
      18. The method according to claim 17, wherein the
  assigning of each of the plurality of respective communica- 45 respective alternate communication target.
  tions to one of the plurality of resources is further based on
